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             [ORAL ARGUMENT NOT YET SCHEDULED]
                         No. 21-5093

           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT


          ALABAMA ASSOCIATION OF REALTORS®, et al.,
                     Plaintiffs-Appellees,

                                   v.

  U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES, et al.,
                         Defendants-Appellants


             On Appeal from the United States District Court
                      for the District of Columbia


              MOTION FOR SUMMARY AFFIRMANCE
              AND FOR EXPEDITED CONSIDERATION


                                         Brett A. Shumate
                                         Charlotte H. Taylor
                                         Stephen J. Kenny
                                         J. Benjamin Aguiñaga
                                         JONES DAY
                                         51 Louisiana Ave. NW
                                         Washington, DC 20001
                                         (202) 879-3939
                                         bshumate@jonesday.com
                                         Counsel for Appellees
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                              INTRODUCTION

      This case is now before a motions panel of this Court for a third time. In

June, a motions panel declined to vacate a stay pending appeal of the district

court’s final judgment vacating the eviction moratorium issued by the Centers

for Disease Control and Prevention (CDC). After the CDC extended that

moratorium for a fourth time on August 3, this Court again declined to vacate

the stay. Less than a week later, the Supreme Court vacated the stay because

Plaintiffs “are virtually certain to succeed on the merits of their argument that

the CDC has exceeded its authority.” App.71a. In light of the Supreme

Court’s decision, this Court should now summarily affirm the district court’s

final judgment because Plaintiffs “not only have a substantial likelihood of

success on the merits—it is difficult to imagine them losing” this appeal.

App.75a. Plaintiffs respectfully request a ruling on this motion before October

3—when the current moratorium will expire—to avoid unnecessary and

wasteful litigation because the government has indicated that it will argue that

this case is moot (and that the district court’s judgment should be vacated)

after that date. The government does not yet take a position on the motion for

summary affirmance.




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                                STATEMENT

      1.    As part of the Coronavirus Aid, Relief, and Economic Security

Act, Congress adopted a 120-day eviction moratorium prohibiting landlords of

properties covered by federal assistance programs or subject to federally-

backed loans from evicting tenants for failing to pay rent. 15 U.S.C. § 9058.

After that moratorium expired in July 2020 and Congress declined to enact a

new one, President Trump directed the CDC to consider issuing a moratorium

of its own. Exec. Order No. 13,945, 85 Fed. Reg. 49,935 (Aug. 8, 2020).

      The CDC complied. On September 4, 2020, it issued a moratorium that

prohibited landlords nationwide from evicting tenants who had submitted a

declaration under penalty of perjury affirming that, among other things, they

could not pay their rent and would “likely become homeless” or forced to “live

in close quarters” if evicted. 85 Fed. Reg. 55,292, 55,297 (Sept. 4, 2020). The

CDC’s order imposed criminal penalties—enforced by the Department of

Justice—of up to a year in jail and/or a fine of $250,000 for individual violators

and a fine of $500,000 for organizational ones. Id. at 55,296.

      As statutory authority for this measure, the CDC invoked Section 361 of

the Public Health Service Act, a provision dating from 1944 that gave the

agency power to “make and enforce such regulations as in [its] judgment are



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necessary to prevent the introduction, transmission, or spread of

communicable diseases” across States or from foreign lands.             42 U.S.C.

§ 264(a); see 85 Fed. Reg. at 55,292. According to the CDC, the moratorium

was “necessary … to prevent the further spread of COVID-19,” 85 Fed. Reg.

at 55,296, on the theory that the eviction of covered tenants would lead to

transmission of the virus in shared living spaces, id. at 55,294-95.

      The CDC’s moratorium was originally set to expire on December 31,

2020. Id. at 55,297. In the Consolidated Appropriations Act for 2021, however,

Congress included a provision extending the moratorium through January 31,

2021. Pub. L. No. 116-260, § 502, 134 Stat. 1182, 2078-79 (2020). When

Congress did not take any further action, the CDC twice extended its

moratorium itself—first through March 31, 2021, and then through June 30,

2021. 86 Fed. Reg. 8020 (Feb. 3, 2021); 86 Fed. Reg. 16,731 (Mar. 31, 2021).

      2.    Plaintiffs—two landlords affected by the CDC’s order, the

businesses they use to manage their properties, and two trade associations—

challenged the lawfulness of the eviction moratorium. Following expedited

summary-judgment briefing, the district court vacated the moratorium as

exceeding the CDC’s authority. App.18a-37a. The court nevertheless entered

a stay pending appeal based largely on equitable considerations. App.38a-48a.



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      In June, a motions panel of this Court declined to vacate the stay in an

unpublished order on the theory that “[t]he district court did not abuse its

discretion in granting a stay in this case.”       App.49a; see App.49a-55a.

Emphasizing that it was “of course not resolving the ultimate merits of the

legal question,” the Panel determined that the government was “likely to

succeed on the merits” and that “[t]he district court acted within its discretion

in concluding that the [equitable] factors supported its stay.” App.50a, 53a.

      3.    Plaintiffs then asked the Supreme Court to vacate the stay. While

their application was pending, the CDC issued its third extension of the

moratorium, this time until July 31, 2021. 86 Fed. Reg. 34,010-02 (June 28,

2021). The agency explained that “[t]his 30-day extension” was “intended to

be the final iteration” of the moratorium to allow the “additional distribution

of emergency rental assistance funds” to take place. Id. at 34,015.

      The Supreme Court declined to vacate the stay by a 5-4 vote. App.56a.

Four Justices—Justices Thomas, Alito, Gorsuch, and Barrett—noted that

they would have granted the application. Four others—the Chief Justice and

Justices Breyer, Sotomayor, and Kagan—did not explain their votes to deny.

Justice Kavanaugh, the decisive fifth vote to deny the application, issued a

concurring opinion. Id. He made clear that he “agree[d] with the District



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Court and the applicants that the Centers for Disease Control and Prevention

exceeded its existing statutory authority by issuing a nationwide eviction

moratorium.” Id. (citing Utility Air Regul. Grp. v. EPA, 573 U.S. 302, 324

(2014)). But “[b]ecause the CDC plans to end the moratorium in only a few

weeks, on July 31, and because those few weeks will allow for additional and

more orderly distribution of the congressionally appropriated rental

assistance funds,” he decided to “vote at this time to deny the application”

based on a “balance of equities.” Id. Justice Kavanaugh cautioned, however,

that “clear and specific congressional authorization (via new legislation) would

be necessary for the CDC to extend the moratorium past July 31.” Id.

      4.    On August 3, the CDC announced its fourth extension of the

eviction moratorium, which will expire on October 3. 86 Fed. Reg. 43,244 (Aug.

6, 2021). The latest iteration is virtually identical to its predecessors except

that its scope is now limited to those counties “experiencing substantial or high

rates of transmission” of COVID-19, which as of August 1, amounted to “over

80% of” all counties in the country. Id. at 43,244, 43,246. According to the

President, the fourth extension of the moratorium “covers close to 90 percent

of … renters” in the country. The White House, Remarks by President Biden

on Fighting the COVID-19 Pandemic (Aug. 3, 2021), https://bit.ly/3xszwea.



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       Plaintiffs immediately moved to vacate the district court’s stay pending

 appeal. In denying their motion, the district court agreed that its vacatur

 order covered the latest iteration of the moratorium, noting that “[t]he

 government conceded this point.” App.62a; see App.60a-63a. The court also

 made clear that “absent” this Court’s earlier stay order, “[it] would vacate the

 stay.” App.68a. As the district court observed, “the Supreme Court’s recent

 decision in this case strongly suggests that the CDC is unlikely to succeed on

 the merits” and “[o]ther decisions from the federal courts of appeals further

 suggest that the government is unlikely to prevail.” App.66a-67a. The district

 court also determined that the government had failed to show that “the

 equities cut strongly in its favor,” noting that since it had issued its stay order,

 “the government has had three months to distribute rental assistance; health

 care providers have administered roughly 65 million additional vaccine doses;

 and the total cost of the moratoria to lessors, amounting to as much as $19

 billion each month, has only increased.”         App.68a n.3 (internal citation

 omitted).   Meanwhile, the court observed, the government has failed to

 “identif[y] any approach for evaluating when the compounding costs of the

 federal moratorium will outweigh its residual benefits.” Id.




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       The district court nevertheless declined to vacate the stay because it

 believed its “hands [were] tied” under the law-of-the-case doctrine. App.68a;

 see App.63a-69a. According to the court, the motions panel’s unpublished

 order compelled it “to maintain the stay as a matter of law.” App.64a.

       5. After this Court again declined to lift the stay, App.70a, the Supreme

 Court granted Plaintiffs’ application to vacate the stay, App.78a. In its opinion

 vacating the stay, the Court explained that “the applicants are virtually certain

 to succeed on the merits of their argument that the CDC has exceeded its

 authority.”   App.71a.   “If a federally imposed eviction moratorium is to

 continue, Congress must specifically authorize it.” App.78a.

                                  ARGUMENT

       Summary affirmance is appropriate when the merits “‘are so clear as to

 justify expedited action.’” Egan v. U.S. Agency for Int’l Dev., 381 F.3d 1, 3

 (D.C. Cir. 2004) (quoting Walker v. Washington, 627 F.2d 541, 545 (D.C. Cir.

 1980)); Taxpayers Watchdog, Inc. v. Stanley, 819 F.2d 294, 297 (D.C. Cir.

 1987); D.C. Cir. Handbook of Practice and Internal Procedures VIII.G, at 36.

 Summary affirmance is appropriate here in light of the Supreme Court’s

 holding that Plaintiffs “not only have a substantial likelihood of success on the

 merits—it is difficult to imagine them losing.” App.75a; see Order, Chambless



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 Enters., L.L.C. v. Walenksy, No. 21-30037 (5th Cir. Aug. 27, 2021) (citing the

 Supreme Court’s opinion and granting motion for injunction pending appeal).

 I.     The CDC Clearly Lacks Statutory Authority.

        Throughout this litigation, the government has taken the position “that

 the first sentence of §361(a) gives the CDC broad authority to take whatever

 measures it deems necessary to control the spread of COVID–19, including

 issuing the moratorium.” App.75a. The Supreme Court rejected that claim of

 authority, holding that “[i]t strains credulity to believe that this statute grants

 the CDC the sweeping authority that it asserts” for three reasons. App.71a-

 72a.

        First, the Court rejected the government’s contention that the first

 sentence of §361(a) could be read in isolation. “[T]he second sentence informs

 the grant of authority by illustrating the kinds of measures that could be

 necessary: inspection, fumigation, disinfection, sanitation, pest extermination,

 and destruction of contaminated animals and articles.” App.75a. “Reading

 both sentences together, rather than the first in isolation, it is a stretch to

 maintain that §361(a) gives the CDC the authority to impose this eviction

 moratorium.” App.76a.




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       Second, the Court held that the moratorium cannot be reconciled with

 the major-questions doctrine. Courts “expect Congress to speak clearly when

 authorizing an agency to exercise powers of ‘vast “economic and political

 significance.” ’ ” Id. (quoting Utility Air Regul. Grp., 573 U.S. at 324). “That

 is exactly the kind of power that the CDC claims here,” id., but “Section 361(a)

 is a wafer-thin reed on which to rest such sweeping power.” App.77a.

       Third, the Court recognized that the CDC’s interpretation is at odds

 with the federalism clear-statement rule because the “moratorium intrudes

 into an area that is the particular domain of state law: the landlord-tenant

 relationship.” App.76a. The Court’s “precedents require Congress to enact

 exceedingly clear language if it wishes to significantly alter the balance

 between federal and state power and the power of the Government over

 private property.” Id. (citation omitted).

       This Court “has no power or authority to deviate from” the Supreme

 Court’s interpretation of § 361(a). Briggs v. Pa. R.R. Co., 334 U.S. 304, 306

 (1948). The Supreme Court affirmatively decided the proper interpretation of

 § 361(a) in an eight-page opinion after the issue was “thoroughly briefed

 before [the Court]—twice” and after “careful review of that record.” App.71a.

 As the government previously told this Court, “ ‘a court involved in later



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 phases of a lawsuit should not re-open questions decided . . . by that court or a

 higher one in earlier phases.’ ” Opp. 12 (quoting Crocker v. Piedmont Aviation,

 Inc., 49 F.3d 735, 739 (D.C. Cir. 1995)); see, e.g., Sherley v. Sebelius, 689 F.3d

 776, 782-83 (D.C. Cir. 2012) (holding that “a definitive, fully considered legal

 decision” vacating a preliminary injunction was law of the case on statutory

 interpretation question). The Supreme Court’s decision compels this Court to

 affirm the district court’s judgment.

 II.   The Court Should Summarily Affirm Before October 3 to Avoid
       Unnecessary and Wasteful Litigation Over Mootness.

       This Court should summarily affirm the district court’s final judgment

 before the moratorium’s fourth extension expires on October 3. Cf. Tiger Lily,

 LLC v. HUD, 5 F.4th 666 (6th Cir. 2021) (affirming declaratory judgment that

 CDC lacked authority for the moratorium on July 23, a week before the third

 extension expired on July 31). When the moratorium expires, the government

 is likely to claim that this appeal is moot—and that the district court’s

 judgment should be vacated as a result. See, e.g., Statement of Issues to be

 Raised, ECF 1905202 (July 6, 2021) (“The government expects this appeal to

 become moot due to the moratorium’s expected expiration on July 31.”);

 Notice, ECF 20, Dixon Ventures, Inc. v. Becerra, No. 20-cv-01518-KGB (E.D.

 Ark. Aug. 2, 2021) (arguing that case was moot after moratorium expired on


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 July 31); Joint Motion, ECF 24, Mossman v. CDC, No. 21-cv-00028-CJW-MAR

 (N.D. Iowa Aug. 2, 2021) (same). As of this date, counsel for the government

 has not disavowed arguing mootness after October 3.

       Litigating mootness in this Court after October 3 would be an

 unnecessary waste of time and resources—and result in manifest injustice to

 the Plaintiffs. See D.C. Cir. Handbook of Practice and Internal Procedures

 VII.A, at 28 (explaining that the goal of summary disposition is to save “time,

 effort, and resources for the parties, counsel, and the Court”). After the

 government represented to the Supreme Court that the moratorium would not

 be extended beyond July 31, Plaintiffs spent 23 days litigating the

 moratorium’s fourth extension—all while suffering “irreparable harm.”

 App.77a. The Supreme Court ultimately vacated the stay pending appeal,

 “rendering the judgment enforceable.” App.71a. As the Court explained,

 “[t]he equities do not justify depriving the applicants of the District Court’s

 judgment in their favor.”     App.77a.     This Court should not afford the

 government an opportunity to argue in this Court that that judgment should

 be vacated as moot—particularly after the Plaintiffs obtained a Supreme

 Court opinion in their favor—because a wasteful round of litigation over

 mootness would serve neither the interests of judicial economy nor the



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 interests of justice.

                                 CONCLUSION

       This Court should summarily affirm the district court’s final judgment

 before October 3, 2021.

 Dated: August 31, 2021                      Respectfully Submitted,

                                             /s/ Brett A. Shumate
                                             Brett A. Shumate
                                             Charlotte H. Taylor
                                             Stephen J. Kenny
                                             J. Benjamin Aguiñaga
                                             JONES DAY
                                             51 Louisiana Ave. NW
                                             Washington, DC 20001
                                             (202) 879-3939
                                             bshumate@jonesday.com
                                             Counsel for Appellees




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                     CERTIFICATE OF COMPLIANCE

      1.    This document complies with the word limit of Fed. R. App. P.

 27(d)(2)(A) because, excluding the parts of the document exempted by Fed. R.

 App. P. 32(f) and D.C. Circuit Rule 32(e)(1), this document contains 2,375

 words.

      2.    This document complies with the typeface and type-style

 requirements of Fed. R. App. P. 27(d)(1)(E) and 32(a)(5) and (a)(6) because

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                                           /s/ Brett A. Shumate




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                         CERTIFICATE OF SERVICE

       The undersigned certifies that, on this 31st day of August 2021, I filed

 the foregoing brief using this Court’s Appellate CM/ECF system, which

 effected service on all parties.

                                            /s/ Brett A. Shumate




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                             ADDENDUM
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              [ORAL ARGUMENT NOT YET SCHEDULED]

            IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT

  ALABAMA ASSOCIATION OF
  REALTORS®, et al.,
              Plaintiffs-Appellees,
      v.
                                                     No. 21-5093
  UNITED STATES
  DEPARTMENT OF HEALTH
  AND HUMAN SERVICES, et al.,
              Defendants-Appellants.

      CERTIFICATE OF PARTIES AND DISCLOSURE STATEMENT

 A.    Parties and Amici

       Plaintiffs-Appellees are Alabama Association of REALTORS®; Danny

 Fordham; Fordham & Associates, LLC; H.E. Cauthen Land and

 Development, LLC; Georgia Association of REALTORS®; Robert Gilstrap;

 and Title One Management, LLC.

       Defendants-Appellants are U.S. Department of Health and Human

 Services; Xavier Becerra, in his official capacity as Secretary of Health and

 Human Services; U.S. Department of Justice; Merrick B. Garland, in his

 official capacity as Attorney General; Centers for Disease Control and

 Prevention; Rochelle P. Walensky, in her official capacity as Director of
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 Centers for Disease Control and Prevention; and Sherri A. Berger, in her

 official capacity as Acting Chief of Staff for Centers for Disease Control and

 Prevention.

       There were no additional parties and no amici in the district court.

 B.    Disclosure Statement

       Pursuant to FRAP 26.1 and Circuit Rule 26.1, Plaintiffs-Appellees

 Alabama Association of REALTORS® and Georgia Association of

 REALTORS® are trade associations of real-estate professionals organized

 under section 501(c)(6) of the Internal Revenue Code. Each organization has

 members affected by the CDC Eviction Moratorium. Plaintiffs-Appellees

 Fordham & Associates, LLC, H.E. Cauthen Land and Development, LLC,

 and Title One Management, LLC are corporations that manage properties

 that are affected by the CDC Eviction Moratorium. None of these Plaintiffs-

 Appellees has a parent company, and no publicly held company owns 10% or

 more of any Plaintiff-Appellee’s stock.
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 Dated: August 31, 2021             Respectfully Submitted,

                                    /s/ Brett A. Shumate
                                    Brett A. Shumate
                                    Charlotte H. Taylor
                                    Stephen J. Kenny
                                    J. Benjamin Aguiñaga
                                    JONES DAY
                                    51 Louisiana Ave. NW
                                    Washington, DC 20001
                                    (202) 879-3939
                                    bshumate@jonesday.com
                                    Counsel for Appellees
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                                                        APPEAL,CLOSED,STAYED,TYPE−C
                                U.S. District Court
                     District of Columbia (Washington, DC)
                CIVIL DOCKET FOR CASE #: 1:20−cv−03377−DLF

  ALABAMA ASSOCIATION OF REALTORS et al v. UNITED    Date Filed: 11/20/2020
  STATES DEPARTMENT OF HEALTH AND HUMAN              Date Terminated: 05/05/2021
  SERVICES et al                                     Jury Demand: None
  Assigned to: Judge Dabney L. Friedrich             Nature of Suit: 890 Other Statutory
  Case in other court: 21−05093                      Actions
  Cause: 05:0706 Judicial Review of Agency Actions   Jurisdiction: U.S. Government Defendant
  Plaintiff
  ALABAMA ASSOCIATION OF               represented by Autumn Hamit Patterson
  REALTORS                                            JONES DAY
                                                      2727 North Harwood St.
                                                      Dallas, TX 75201
                                                      214−220−3939
                                                      Email: ahpatterson@jonesday.com
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                     Charlotte Taylor
                                                     JONES DAY
                                                     51 Louisiana Ave, NW
                                                     Washington, DC 20001
                                                     202−879−3872
                                                     Email: ctaylor@jonesday.com
                                                     ATTORNEY TO BE NOTICED

                                                     Megan Lacy Owen
                                                     JONES DAY
                                                     51 Louisiana Ave, NW
                                                     Washington, DC 20001
                                                     202−879−3404
                                                     Email: mlacyowen@jonesday.com
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     Brett A. Shumate
                                                     JONES DAY
                                                     51 Louisiana Avenue, NW
                                                     Washington, DC 20001
                                                     (202) 879−3855
                                                     Email: bshumate@jonesday.com
                                                     ATTORNEY TO BE NOTICED

  Plaintiff
  DANNY FORDHAM                        represented by Autumn Hamit Patterson
                                                      (See above for address)
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                     Charlotte Taylor
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Megan Lacy Owen
                                                     (See above for address)
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

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                                                Brett A. Shumate
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

  Plaintiff
  FORDHAM & ASSOCIATES, LLC         represented by Autumn Hamit Patterson
                                                   (See above for address)
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                Charlotte Taylor
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Megan Lacy Owen
                                                (See above for address)
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Brett A. Shumate
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

  Plaintiff
  H.E. CAUTHEN LAND AND             represented by Autumn Hamit Patterson
  DEVELOPMENT, LLC                                 (See above for address)
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                Charlotte Taylor
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Megan Lacy Owen
                                                (See above for address)
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Brett A. Shumate
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

  Plaintiff
  GEORGIA ASSOCIATION OF            represented by Autumn Hamit Patterson
  REALTORS                                         (See above for address)
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                Charlotte Taylor
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Megan Lacy Owen
                                                (See above for address)
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Brett A. Shumate
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

  Plaintiff

                                   2a
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  ROBERT GILSTRAP                   represented by Autumn Hamit Patterson
                                                   (See above for address)
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                 Charlotte Taylor
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Megan Lacy Owen
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Brett A. Shumate
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

  Plaintiff
  TITLE ONE MANAGEMENT, LLC         represented by Autumn Hamit Patterson
                                                   (See above for address)
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                 Charlotte Taylor
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Megan Lacy Owen
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Brett A. Shumate
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED


  V.
  Defendant
  UNITED STATES DEPARTMENT OF       represented by Brian D. Netter
  HEALTH AND HUMAN SERVICES                        U.S. DEPARTMENT OF JUSTICE
                                                   950 Pennsylvania Ave NW
                                                   Washington, DC 20530
                                                   202−514−2000
                                                   Email: Brian.Netter@usdoj.gov
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                 Leslie Cooper Vigen
                                                 U.S. DEPARTMENT OF JUSTICE
                                                 Civil Division, Federal Programs Branch
                                                 1100 L Street, NW
                                                 Room 11308
                                                 Washington, DC 20005
                                                 (202) 305−0727
                                                 Fax: (202) 616−8470
                                                 Email: leslie.vigen@usdoj.gov
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Steven A. Myers
                                                 United States Department of Justice
                                   3a
USCA Case #21-5093            Document #1912347       Filed: 08/31/2021      Page 28 of 110
                                                          Civil Division, Federal Programs Branch
                                                          1100 L Street, NW
                                                          Washington, DC 20005
                                                          (202) 305−8648
                                                          Fax: (202) 616−8470
                                                          Email: steven.a.myers@usdoj.gov
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          John Robinson
                                                          U.S. DEPARTMENT OF JUSTICE
                                                          1100 L Street NW
                                                          Washington, DC 20005
                                                          202−616−8489
                                                          Email: john.j.robinson@usdoj.gov
                                                          ATTORNEY TO BE NOTICED

  Defendant
  ALEX M. AZAR, II                            represented by Brian D. Netter
  in his official capacity as Secretary of                   (See above for address)
  Health and Human Services                                  LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                          Leslie Cooper Vigen
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Steven A. Myers
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          John Robinson
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

  Defendant
  UNITED STATES DEPARTMENT OF                 represented by Brian D. Netter
  JUSTICE                                                    (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                          Leslie Cooper Vigen
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Steven A. Myers
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          John Robinson
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

  Defendant
  WILLIAM P. BARR                             represented by Brian D. Netter
  in his official capacity as Attorney                       (See above for address)
  General                                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

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                                                             Leslie Cooper Vigen
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Steven A. Myers
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             John Robinson
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

  Defendant
  CENTERS FOR DISEASE CONTROL                    represented by Brian D. Netter
  AND PREVENTION                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                             Leslie Cooper Vigen
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Steven A. Myers
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             John Robinson
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

  Defendant
  ROBERT R. REDFIELD                             represented by Brian D. Netter
  in his official capacity as Director of the                   (See above for address)
  Centers for Disease Control and                               LEAD ATTORNEY
  Prevention                                                    ATTORNEY TO BE NOTICED

                                                             Leslie Cooper Vigen
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Steven A. Myers
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             John Robinson
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

  Defendant
  NINA B WITKOFSKY                               represented by Brian D. Netter
  in her official capacity as Acting Chief of                   (See above for address)
  Staff, Centers for Disease Control and                        LEAD ATTORNEY
  Prevention                                                    ATTORNEY TO BE NOTICED

                                                             Leslie Cooper Vigen
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                5a
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                                                                   ATTORNEY TO BE NOTICED

                                                                   Steven A. Myers
                                                                   (See above for address)
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                   John Robinson
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED

   Movant
   THIRD AMENDMENT LAWYERS                          represented by Jay Marshall Wolman
   ASSOCIATION                                                     RANDAZZA LEGAL GROUP, PLLC
                                                                   100 Pearl Street
                                                                   14th Floor
                                                                   Hartford, CT 06103
                                                                   (702) 420−2001
                                                                   Fax: (305) 437−7662
                                                                   Email: jmw@randazza.com
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED


Date Filed   # Docket Text
11/20/2020   1 COMPLAINT against All Plaintiffs against All Defendants ( Filing fee $ 400 receipt number
               ADCDC−7861856) filed by ROBERT GILSTRAP, FORDHAM & ASSOCIATES, LLC, TITLE
               ONE MANAGEMENT, LLC, DANNY FORDHAM, ALABAMA ASSOCIATION OF
               REALTORS, H.E. CAUTHEN LAND AND DEVELOPMENT, LLC, GEORGIA ASSOCIATION
               OF REALTORS. (Attachments: # 1 Civil Cover Sheet, # 2 Summons, # 3 Summons, # 4 Summons,
               # 5 Summons, # 6 Summons, # 7 Summons, # 8 Summons)(Shumate, Brett) (Entered: 11/20/2020)
11/20/2020   2 NOTICE OF RELATED CASE by ALABAMA ASSOCIATION OF REALTORS, DANNY
               FORDHAM, FORDHAM & ASSOCIATES, LLC, GEORGIA ASSOCIATION OF REALTORS,
               ROBERT GILSTRAP, H.E. CAUTHEN LAND AND DEVELOPMENT, LLC, TITLE ONE
               MANAGEMENT, LLC. Case related to Case No. 1:20−cv−3702−WMR (N.D. Ga.);
               2:20−cv−02692−MSN−atc (W.D. Tenn.); 6:20−cv−00564 (E.D. Tex.); 5:20−cv−02407−JRA (N.D.
               Ohio). (Shumate, Brett) (Entered: 11/20/2020)
11/20/2020   3 LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and Financial Interests by
               FORDHAM & ASSOCIATES, LLC (Shumate, Brett) (Entered: 11/20/2020)
11/20/2020   4 LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and Financial Interests by
               H.E. CAUTHEN LAND AND DEVELOPMENT, LLC (Shumate, Brett) (Entered: 11/20/2020)
11/20/2020   5 LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and Financial Interests by
               TITLE ONE MANAGEMENT, LLC (Shumate, Brett) (Entered: 11/20/2020)
11/20/2020   6 MOTION for Summary Judgment (Expedited) by ALABAMA ASSOCIATION OF REALTORS,
               DANNY FORDHAM, FORDHAM & ASSOCIATES, LLC, GEORGIA ASSOCIATION OF
               REALTORS, ROBERT GILSTRAP, H.E. CAUTHEN LAND AND DEVELOPMENT, LLC,
               TITLE ONE MANAGEMENT, LLC (Attachments: # 1 Memorandum in Support, # 2 Declaration
               Fordham Declaration, # 3 Declaration Gilstrap Declaration, # 4 Declaration Cororaton Declaration,
               # 5 Declaration Walker Declaration, # 6 Declaration Junkin Declaration, # 7 Proposed
               Order)(Shumate, Brett) (Entered: 11/20/2020)
11/20/2020   7 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Megan Lacy Owen, Filing fee $
               100, receipt number ADCDC−7862927. Fee Status: Fee Paid. by ALABAMA ASSOCIATION OF
               REALTORS, DANNY FORDHAM, FORDHAM & ASSOCIATES, LLC, GEORGIA
               ASSOCIATION OF REALTORS, ROBERT GILSTRAP, H.E. CAUTHEN LAND AND
               DEVELOPMENT, LLC, TITLE ONE MANAGEMENT, LLC (Attachments: # 1 Declaration of
               Megan Lacy Owen, # 2 Proposed Order)(Shumate, Brett) (Entered: 11/20/2020)
11/20/2020   8 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Autumn Hamit Patterson, Filing fee
               $ 100, receipt number ADCDC−7862993. Fee Status: Fee Paid. by ALABAMA ASSOCIATION

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                OF REALTORS, DANNY FORDHAM, FORDHAM & ASSOCIATES, LLC, GEORGIA
                ASSOCIATION OF REALTORS, ROBERT GILSTRAP, H.E. CAUTHEN LAND AND
                DEVELOPMENT, LLC, TITLE ONE MANAGEMENT, LLC (Attachments: # 1 Declaration of
                Autumn Hamit Patterson, # 2 Proposed Order)(Shumate, Brett) (Entered: 11/20/2020)
11/23/2020      Case Assigned to Judge Dabney L. Friedrich. (zsb) (Entered: 11/23/2020)
11/23/2020   9 SUMMONS (7) Issued Electronically as to ALEX M. AZAR, II, WILLIAM P. BARR, CENTERS
               FOR DISEASE CONTROL AND PREVENTION, ROBERT R. REDFIELD, UNITED STATES
               DEPARTMENT OF HEALTH AND HUMAN SERVICES, UNITED STATES DEPARTMENT
               OF JUSTICE, NINA B WITKOFSKY. (Attachment: # 1 Notice and Consent)(adh, ) (Entered:
               11/23/2020)
11/23/2020 10 STANDARD ORDER for Civil Cases. See text for details. Signed by Judge Dabney L. Friedrich on
              November 23, 2020. (lcdlf2) (Entered: 11/23/2020)
11/23/2020      MINUTE ORDER granting the plaintiffs' 7 Motion for Admission Pro Hac Vice of Attorney Megan
                Lacy Owen. Counsel should register for e−filing via PACER and file a notice of appearance
                pursuant to LCvR 83.6(a). For instructions visit:
                https://www.dcd.uscourts.gov/sites/dcd/files/NextGEN_Tutorial_for_Registering_for_E−filing.pdf.
                So Ordered by Judge Dabney L. Friedrich on November 23, 2020. (lcdlf2) (Entered: 11/23/2020)
11/23/2020      MINUTE ORDER granting the plaintiffs' 8 Motion for Admission Pro Hac Vice of Attorney
                Autumn Hamit Patterson. Counsel should register for e−filing via PACER and file a notice of
                appearance pursuant to LCvR 83.6(a). For instructions visit:
                https://www.dcd.uscourts.gov/sites/dcd/files/NextGEN_Tutorial_for_Registering_for_E−filing.pdf.
                So Ordered by Judge Dabney L. Friedrich on November 23, 2020. (lcdlf2) (Entered: 11/23/2020)
11/24/2020 11 NOTICE of Appearance by Autumn Hamit Patterson on behalf of All Plaintiffs (Patterson,
              Autumn) (Main Document 11 replaced on 11/24/2020) (zeg). (Entered: 11/24/2020)
11/24/2020 12 NOTICE of Appearance by Megan Lacy Owen on behalf of All Plaintiffs (Lacy Owen, Megan)
              (Main Document 12 replaced on 11/24/2020) (zeg). (Main Document 12 replaced on 11/24/2020)
              (zeg). (Entered: 11/24/2020)
12/03/2020 13 CERTIFICATE OF SERVICE by ALABAMA ASSOCIATION OF REALTORS, DANNY
              FORDHAM, FORDHAM & ASSOCIATES, LLC, GEORGIA ASSOCIATION OF REALTORS,
              ROBERT GILSTRAP, H.E. CAUTHEN LAND AND DEVELOPMENT, LLC, TITLE ONE
              MANAGEMENT, LLC re 6 MOTION for Summary Judgment (Expedited) Amended Certificate of
              Service. (Shumate, Brett) (Entered: 12/03/2020)
12/03/2020 14 NOTICE of Appearance by Leslie Cooper Vigen on behalf of All Defendants (Vigen, Leslie)
              (Entered: 12/03/2020)
12/03/2020 15 Joint MOTION for Briefing Schedule by ALEX M. AZAR, II, WILLIAM P. BARR, CENTERS
              FOR DISEASE CONTROL AND PREVENTION, ROBERT R. REDFIELD, UNITED STATES
              DEPARTMENT OF HEALTH AND HUMAN SERVICES, UNITED STATES DEPARTMENT
              OF JUSTICE, NINA B WITKOFSKY (Attachments: # 1 Text of Proposed Order)(Vigen, Leslie)
              (Entered: 12/03/2020)
12/03/2020 16 NOTICE of Appearance by Steven A. Myers on behalf of All Defendants (Myers, Steven) (Entered:
              12/03/2020)
12/04/2020      MINUTE ORDER granting the parties' 15 Joint Motion for Briefing Schedule. Accordingly, the
                defendants shall provide the administrative record to the plaintiffs and file a certified list of its
                contents on or before December 11, 2020; the defendants shall file their opposition to the plaintiffs'
                expedited summary judgment motion and their cross−motion for summary judgment on or before
                December 21, 2020; the plaintiffs shall file any reply in support of their motion and their opposition
                to the defendants' cross−motion for summary judgment on or before December 28, 2020; and the
                defendants shall file any reply in support of their cross−motion on or before January 6, 2021. It is
                FURTHER ORDERED that the defendants' obligation to answer shall be deferred to 30 days
                following resolution of the cross−motions, if the case remains pending. So Ordered by Judge
                Dabney L. Friedrich on December 4, 2020. (lcdlf2) (Entered: 12/04/2020)
12/04/2020 17 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed. ALEX M. AZAR, II
              served on 11/30/2020 (Shumate, Brett) (Entered: 12/04/2020)


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12/04/2020 18 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed. WILLIAM P. BARR
              served on 11/30/2020 (Shumate, Brett) (Entered: 12/04/2020)
12/04/2020 19 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed. CENTERS FOR
              DISEASE CONTROL AND PREVENTION served on 11/30/2020 (Shumate, Brett) (Entered:
              12/04/2020)
12/04/2020 20 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed. UNITED STATES
              DEPARTMENT OF JUSTICE served on 11/30/2020 (Shumate, Brett) (Entered: 12/04/2020)
12/04/2020 21 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed. UNITED STATES
              DEPARTMENT OF HEALTH AND HUMAN SERVICES served on 11/30/2020 (Shumate, Brett)
              (Entered: 12/04/2020)
12/04/2020 22 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed. ROBERT R.
              REDFIELD served on 11/30/2020 (Shumate, Brett) (Entered: 12/04/2020)
12/04/2020 23 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed. NINA B
              WITKOFSKY served on 11/30/2020 (Shumate, Brett) (Entered: 12/04/2020)
12/11/2020 24 NOTICE of Filing by ALEX M. AZAR, II, WILLIAM P. BARR, CENTERS FOR DISEASE
              CONTROL AND PREVENTION, ROBERT R. REDFIELD, UNITED STATES DEPARTMENT
              OF HEALTH AND HUMAN SERVICES, UNITED STATES DEPARTMENT OF JUSTICE,
              NINA B WITKOFSKY (Attachments: # 1 Exhibit Administrative Record Certification &
              Index)(Vigen, Leslie) (Entered: 12/11/2020)
12/16/2020 25 NOTICE of Filing by ALEX M. AZAR, II, WILLIAM P. BARR, CENTERS FOR DISEASE
              CONTROL AND PREVENTION, ROBERT R. REDFIELD, UNITED STATES DEPARTMENT
              OF HEALTH AND HUMAN SERVICES, UNITED STATES DEPARTMENT OF JUSTICE,
              NINA B WITKOFSKY re 24 Notice (Other), (Attachments: # 1 Exhibit Administrative Record
              Recertification & Updated Index)(Vigen, Leslie) (Entered: 12/16/2020)
12/21/2020 26 MOTION for Summary Judgment by ALEX M. AZAR, II, WILLIAM P. BARR, CENTERS FOR
              DISEASE CONTROL AND PREVENTION, ROBERT R. REDFIELD, UNITED STATES
              DEPARTMENT OF HEALTH AND HUMAN SERVICES, UNITED STATES DEPARTMENT
              OF JUSTICE, NINA B WITKOFSKY (Attachments: # 1 Text of Proposed Order)(Myers, Steven)
              (Entered: 12/21/2020)
12/21/2020 27 Memorandum in opposition to re 6 MOTION for Summary Judgment (Expedited) filed by ALEX
              M. AZAR, II, WILLIAM P. BARR, CENTERS FOR DISEASE CONTROL AND PREVENTION,
              ROBERT R. REDFIELD, UNITED STATES DEPARTMENT OF HEALTH AND HUMAN
              SERVICES, UNITED STATES DEPARTMENT OF JUSTICE. (Attachments: # 1 Text of
              Proposed Order)(Myers, Steven) (Entered: 12/21/2020)
12/28/2020 28 Memorandum in opposition to re 26 MOTION for Summary Judgment filed by ALABAMA
              ASSOCIATION OF REALTORS, DANNY FORDHAM, FORDHAM & ASSOCIATES, LLC,
              GEORGIA ASSOCIATION OF REALTORS, ROBERT GILSTRAP, H.E. CAUTHEN LAND
              AND DEVELOPMENT, LLC, TITLE ONE MANAGEMENT, LLC. (Attachments: # 1 Exhibit A,
              # 2 Exhibit B)(Shumate, Brett) (Entered: 12/28/2020)
12/28/2020 29 REPLY to opposition to motion re 6 MOTION for Summary Judgment (Expedited) filed by
              ALABAMA ASSOCIATION OF REALTORS, DANNY FORDHAM, FORDHAM &
              ASSOCIATES, LLC, GEORGIA ASSOCIATION OF REALTORS, ROBERT GILSTRAP, H.E.
              CAUTHEN LAND AND DEVELOPMENT, LLC, TITLE ONE MANAGEMENT, LLC.
              (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Shumate, Brett) (Entered: 12/28/2020)
12/31/2020 30 NOTICE of Congressional Action by ALEX M. AZAR, II, WILLIAM P. BARR, CENTERS FOR
              DISEASE CONTROL AND PREVENTION, ROBERT R. REDFIELD, UNITED STATES
              DEPARTMENT OF HEALTH AND HUMAN SERVICES, UNITED STATES DEPARTMENT
              OF JUSTICE, NINA B WITKOFSKY (Vigen, Leslie) (Entered: 12/31/2020)
01/06/2021 31 REPLY to opposition to motion re 26 MOTION for Summary Judgment filed by ALEX M. AZAR,
              II, WILLIAM P. BARR, CENTERS FOR DISEASE CONTROL AND PREVENTION, ROBERT
              R. REDFIELD, UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES,
              UNITED STATES DEPARTMENT OF JUSTICE, NINA B WITKOFSKY. (Vigen, Leslie)
              (Entered: 01/06/2021)



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01/06/2021 32 Partial MOTION to Dismiss by ALEX M. AZAR, II, WILLIAM P. BARR, CENTERS FOR
              DISEASE CONTROL AND PREVENTION, ROBERT R. REDFIELD, UNITED STATES
              DEPARTMENT OF HEALTH AND HUMAN SERVICES, UNITED STATES DEPARTMENT
              OF JUSTICE, NINA B WITKOFSKY (Attachments: # 1 Memorandum in Support, # 2 Text of
              Proposed Order)(Vigen, Leslie) (Entered: 01/06/2021)
01/07/2021 33 Consent MOTION to Stay by ALABAMA ASSOCIATION OF REALTORS, DANNY
              FORDHAM, FORDHAM & ASSOCIATES, LLC, GEORGIA ASSOCIATION OF REALTORS,
              ROBERT GILSTRAP, H.E. CAUTHEN LAND AND DEVELOPMENT, LLC, TITLE ONE
              MANAGEMENT, LLC (Attachments: # 1 Text of Proposed Order)(Shumate, Brett) (Entered:
              01/07/2021)
01/08/2021      MINUTE ORDER. Upon consideration of the plaintiffs' 33 Consent Motion for a Temporary Stay,
                it is ORDERED that the motion is GRANTED. The plaintiffs' deadline to respond to the defendants'
                32 Partial Motion to Dismiss is STAYED. On or before February 8, 2021, the parties shall file a
                joint status report advising the Court as to how they wish to proceed in this case. So Ordered by
                Judge Dabney L. Friedrich on January 8, 2021. (lcdlf2) (Entered: 01/08/2021)
01/08/2021      Set/Reset Deadlines: Status Report due by 2/8/2021 (zjch) (Entered: 01/08/2021)
01/26/2021 34 NOTICE of Appearance by Charlotte Taylor on behalf of All Plaintiffs (Taylor, Charlotte)
              (Entered: 01/26/2021)
02/01/2021 35 NOTICE of Extension by ALEX M. AZAR, II, WILLIAM P. BARR, CENTERS FOR DISEASE
              CONTROL AND PREVENTION, ROBERT R. REDFIELD, UNITED STATES DEPARTMENT
              OF HEALTH AND HUMAN SERVICES, UNITED STATES DEPARTMENT OF JUSTICE,
              NINA B WITKOFSKY (Attachments: # 1 Exhibit January 29, 2021 CDC Order)(Vigen, Leslie)
              (Entered: 02/01/2021)
02/08/2021 36 Joint STATUS REPORT by ALABAMA ASSOCIATION OF REALTORS, DANNY FORDHAM,
              FORDHAM & ASSOCIATES, LLC, GEORGIA ASSOCIATION OF REALTORS, ROBERT
              GILSTRAP, H.E. CAUTHEN LAND AND DEVELOPMENT, LLC, TITLE ONE
              MANAGEMENT, LLC. (Shumate, Brett) (Entered: 02/08/2021)
02/10/2021      MINUTE ORDER. Upon consideration of the parties' 36 Joint Status Report, it is ORDERED that
                the following schedule shall govern further proceedings: the plaintiffs shall file a response to the
                defendants' partial motion to dismiss on or before February 15, 2021; the defendants shall file a
                reply in support of their partial motion to dismiss on or before February 22, 2021; the defendants
                shall file an updated certified list of the contents of the administrative record on or before February
                22, 2021; and the plaintiffs shall file an appendix pursuant to Local Civil Rule 7(n) on or before
                February 24, 2021. So Ordered by Judge Dabney L. Friedrich on February 10, 2021. (lcdlf2)
                (Entered: 02/10/2021)
02/10/2021      Set/Reset Deadlines: Administrative Record due by 2/22/2021. Appendix due by 2/24/2021.
                Dispositive Motions due by 2/15/2021. Reply to Dispositive Motions due by 2/22/2021. (zjch)
                (Entered: 02/10/2021)
02/15/2021 37 Memorandum in opposition to re 32 Partial MOTION to Dismiss filed by ALABAMA
              ASSOCIATION OF REALTORS, DANNY FORDHAM, FORDHAM & ASSOCIATES, LLC,
              GEORGIA ASSOCIATION OF REALTORS, ROBERT GILSTRAP, H.E. CAUTHEN LAND
              AND DEVELOPMENT, LLC, TITLE ONE MANAGEMENT, LLC. (Attachments: # 1 Text of
              Proposed Order)(Shumate, Brett) (Entered: 02/15/2021)
02/22/2021 38 REPLY to opposition to motion re 32 Partial MOTION to Dismiss filed by ALEX M. AZAR, II,
              WILLIAM P. BARR, CENTERS FOR DISEASE CONTROL AND PREVENTION, ROBERT R.
              REDFIELD, UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES,
              UNITED STATES DEPARTMENT OF JUSTICE, NINA B WITKOFSKY. (Vigen, Leslie)
              (Entered: 02/22/2021)
02/22/2021 39 NOTICE of Filing by ALEX M. AZAR, II, WILLIAM P. BARR, CENTERS FOR DISEASE
              CONTROL AND PREVENTION, ROBERT R. REDFIELD, UNITED STATES DEPARTMENT
              OF HEALTH AND HUMAN SERVICES, UNITED STATES DEPARTMENT OF JUSTICE,
              NINA B WITKOFSKY (Attachments: # 1 Affidavit Certification of Supplemental Administrative
              Record, # 2 Supplement Index of Supplemental Administrative Record)(Vigen, Leslie) (Entered:
              02/22/2021)
02/24/2021 40 JOINT APPENDIX by ALABAMA ASSOCIATION OF REALTORS, DANNY FORDHAM,
              FORDHAM & ASSOCIATES, LLC, GEORGIA ASSOCIATION OF REALTORS, ROBERT

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                GILSTRAP, H.E. CAUTHEN LAND AND DEVELOPMENT, LLC, TITLE ONE
                MANAGEMENT, LLC. (Attachments: # 1 Index of Joint Appendix, # 2 Joint Appendix Part 1, # 3
                Joint Appendix Part 2, # 4 Joint Appendix Part 3)(Shumate, Brett) (Entered: 02/24/2021)
02/26/2021 41 NOTICE OF SUPPLEMENTAL AUTHORITY by ALABAMA ASSOCIATION OF REALTORS,
              DANNY FORDHAM, FORDHAM & ASSOCIATES, LLC, GEORGIA ASSOCIATION OF
              REALTORS, ROBERT GILSTRAP, H.E. CAUTHEN LAND AND DEVELOPMENT, LLC,
              TITLE ONE MANAGEMENT, LLC (Attachments: # 1 Opinion and Order, # 2
              Judgment)(Shumate, Brett) (Entered: 02/26/2021)
02/27/2021 42 RESPONSE re 41 NOTICE OF SUPPLEMENTAL AUTHORITY, filed by ALEX M. AZAR, II,
              WILLIAM P. BARR, CENTERS FOR DISEASE CONTROL AND PREVENTION, ROBERT R.
              REDFIELD, UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES,
              UNITED STATES DEPARTMENT OF JUSTICE, NINA B WITKOFSKY. (Myers, Steven)
              (Entered: 02/27/2021)
02/28/2021 43 REPLY re 41 NOTICE OF SUPPLEMENTAL AUTHORITY, filed by ALABAMA
              ASSOCIATION OF REALTORS, DANNY FORDHAM, FORDHAM & ASSOCIATES, LLC,
              GEORGIA ASSOCIATION OF REALTORS, ROBERT GILSTRAP, H.E. CAUTHEN LAND
              AND DEVELOPMENT, LLC, TITLE ONE MANAGEMENT, LLC. (Shumate, Brett) (Entered:
              02/28/2021)
03/10/2021 44 NOTICE OF SUPPLEMENTAL AUTHORITY by ALABAMA ASSOCIATION OF REALTORS,
              DANNY FORDHAM, FORDHAM & ASSOCIATES, LLC, GEORGIA ASSOCIATION OF
              REALTORS, ROBERT GILSTRAP, H.E. CAUTHEN LAND AND DEVELOPMENT, LLC,
              TITLE ONE MANAGEMENT, LLC (Attachments: # 1 Exhibit A)(Shumate, Brett) (Entered:
              03/10/2021)
03/12/2021 45 RESPONSE re 44 NOTICE OF SUPPLEMENTAL AUTHORITY, filed by ALEX M. AZAR, II,
              WILLIAM P. BARR, CENTERS FOR DISEASE CONTROL AND PREVENTION, ROBERT R.
              REDFIELD, UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES,
              UNITED STATES DEPARTMENT OF JUSTICE, NINA B WITKOFSKY. (Vigen, Leslie)
              (Entered: 03/12/2021)
03/15/2021 46 REPLY re 44 NOTICE OF SUPPLEMENTAL AUTHORITY, filed by ALABAMA
              ASSOCIATION OF REALTORS, DANNY FORDHAM, FORDHAM & ASSOCIATES, LLC,
              GEORGIA ASSOCIATION OF REALTORS, ROBERT GILSTRAP, H.E. CAUTHEN LAND
              AND DEVELOPMENT, LLC, TITLE ONE MANAGEMENT, LLC. (Shumate, Brett) (Entered:
              03/15/2021)
03/15/2021 47 NOTICE OF SUPPLEMENTAL AUTHORITY by ALABAMA ASSOCIATION OF REALTORS,
              DANNY FORDHAM, FORDHAM & ASSOCIATES, LLC, GEORGIA ASSOCIATION OF
              REALTORS, ROBERT GILSTRAP, H.E. CAUTHEN LAND AND DEVELOPMENT, LLC,
              TITLE ONE MANAGEMENT, LLC (Attachments: # 1 Exhibit A)(Shumate, Brett) (Entered:
              03/15/2021)
03/19/2021 48 RESPONSE re 47 NOTICE OF SUPPLEMENTAL AUTHORITY, filed by ALEX M. AZAR, II,
              WILLIAM P. BARR, CENTERS FOR DISEASE CONTROL AND PREVENTION, ROBERT R.
              REDFIELD, UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES,
              UNITED STATES DEPARTMENT OF JUSTICE, NINA B WITKOFSKY. (Vigen, Leslie)
              (Entered: 03/19/2021)
03/22/2021 49 NOTICE of Imminent Extension of Eviction Moratorium by ALABAMA ASSOCIATION OF
              REALTORS, DANNY FORDHAM, FORDHAM & ASSOCIATES, LLC, GEORGIA
              ASSOCIATION OF REALTORS, ROBERT GILSTRAP, H.E. CAUTHEN LAND AND
              DEVELOPMENT, LLC, TITLE ONE MANAGEMENT, LLC (Attachments: # 1 Exhibit A, # 2
              Exhibit B)(Shumate, Brett) (Entered: 03/22/2021)
03/29/2021 50 NOTICE of Extension and Supplemental Authority by ALABAMA ASSOCIATION OF
              REALTORS, DANNY FORDHAM, FORDHAM & ASSOCIATES, LLC, GEORGIA
              ASSOCIATION OF REALTORS, ROBERT GILSTRAP, H.E. CAUTHEN LAND AND
              DEVELOPMENT, LLC, TITLE ONE MANAGEMENT, LLC (Attachments: # 1 Exhibit A −
              Extension of Eviction Moratorium, # 2 Exhibit B − Sixth Circuit Order)(Shumate, Brett) (Entered:
              03/29/2021)
03/31/2021 51 RESPONSE re 50 Notice (Other), of Extension and Supplemental Authority filed by ALEX M.
              AZAR, II, WILLIAM P. BARR, CENTERS FOR DISEASE CONTROL AND PREVENTION,

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                 ROBERT R. REDFIELD, UNITED STATES DEPARTMENT OF HEALTH AND HUMAN
                 SERVICES, UNITED STATES DEPARTMENT OF JUSTICE, NINA B WITKOFSKY. (Vigen,
                 Leslie) (Entered: 03/31/2021)
04/02/2021       NOTICE of Hearing: Motion Hearing set for 4/14/2021 at 2:00 PM via video before Judge Dabney
                 L. Friedrich. (zjch) (Entered: 04/02/2021)
04/07/2021 52 NOTICE of Filing by ALEX M. AZAR, II, WILLIAM P. BARR, CENTERS FOR DISEASE
              CONTROL AND PREVENTION, ROBERT R. REDFIELD, UNITED STATES DEPARTMENT
              OF HEALTH AND HUMAN SERVICES, UNITED STATES DEPARTMENT OF JUSTICE,
              NINA B WITKOFSKY (Attachments: # 1 Declaration Certification of Second Supplemental
              Administrative Record, # 2 Supplement Index of Second Supplemental Administrative Record, # 3
              Supplement Supplement to Certified Administrative Record)(Vigen, Leslie) (Entered: 04/07/2021)
04/08/2021       Set/Reset Hearings: Motion Hearing set for 4/29/2021 at 10:00 AM via video before Judge Dabney
                 L. Friedrich. (zjch) (Entered: 04/08/2021)
04/29/2021       Minute Entry for proceedings held before Judge Dabney L. Friedrich: Motion Hearing held on
                 4/29/2021 re 32 Partial MOTION to Dismiss filed by NINA B WITKOFSKY, CENTERS FOR
                 DISEASE CONTROL AND PREVENTION, WILLIAM P. BARR, ROBERT R. REDFIELD,
                 UNITED STATES DEPARTMENT OF JUSTICE, ALEX M. AZAR, II, UNITED STATES
                 DEPARTMENT OF HEALTH AND HUMAN SERVICES, 26 MOTION for Summary Judgment
                 filed by NINA B WITKOFSKY, CENTERS FOR DISEASE CONTROL AND PREVENTION,
                 WILLIAM P. BARR, ROBERT R. REDFIELD, UNITED STATES DEPARTMENT OF JUSTICE,
                 ALEX M. AZAR, II, UNITED STATES DEPARTMENT OF HEALTH AND HUMAN
                 SERVICES. Court Reporter Sara Wick. (zjch) (Entered: 04/29/2021)
05/05/2021 53 ORDER denying the defendants' 26 Motion for Summary Judgment and 32 Partial Motion to
              Dismiss, and granting the plaintiffs' 6 Motion for Expedited Summary Judgment. See text for
              details. The Clerk of Court is directed to close this case. Signed by Judge Dabney L. Friedrich on
              May 5, 2021. (lcdlf1) (Entered: 05/05/2021)
05/05/2021 54 MEMORANDUM OPINION regarding the plaintiffs' 6 Motion for Expedited Summary Judgment
              and the defendants' 26 Motion for Summary Judgment and 32 Partial Motion to Dismiss. See text
              for details. Signed by Judge Dabney L. Friedrich on May 5, 2021. (lcdlf1) (Main Document 54
              replaced on 8/26/2021) (zjch, ). (Entered: 05/05/2021)
05/05/2021 55 NOTICE OF APPEAL TO DC CIRCUIT COURT as to 54 Memorandum & Opinion, 53 Order on
              Motion for Summary Judgment,, Order on Motion to Dismiss,,, by WILLIAM P. BARR, ALEX M.
              AZAR, II, CENTERS FOR DISEASE CONTROL AND PREVENTION, NINA B WITKOFSKY,
              UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES, UNITED STATES
              DEPARTMENT OF JUSTICE, ROBERT R. REDFIELD. Fee Status: No Fee Paid. Parties have
              been notified. (Vigen, Leslie) (Entered: 05/05/2021)
05/05/2021 56 Transmission of the Notice of Appeal, Order Appealed (Memorandum Opinion), and Docket Sheet
              to US Court of Appeals. The Court of Appeals docketing fee was not paid because the appeal was
              filed by the government re 55 Notice of Appeal to DC Circuit Court,. (eg) (Entered: 05/05/2021)
05/05/2021 57 Emergency MOTION to Stay re 54 Memorandum & Opinion, 53 Order on Motion for Summary
              Judgment,, Order on Motion to Dismiss,,, (Emergency Motion for Stay Pending Appeal and
              Immediate Administrative Stay) by ALEX M. AZAR, II, WILLIAM P. BARR, CENTERS FOR
              DISEASE CONTROL AND PREVENTION, ROBERT R. REDFIELD, UNITED STATES
              DEPARTMENT OF HEALTH AND HUMAN SERVICES, UNITED STATES DEPARTMENT
              OF JUSTICE, NINA B WITKOFSKY. (Attachments: # 1 Text of Proposed Order)(Myers, Steven)
              (Entered: 05/05/2021)
05/05/2021       MINUTE ORDER. Before the Court is the defendants' 57 Emergency Motion for a Stay Pending
                 Appeal of this Court's 53 May 5, 2021 Order vacating the national eviction moratorium at 86 Fed.
                 Reg. 16,731. In this emergency motion, the defendants request an immediate administrative stay to
                 give this Court time to consider and rule upon its motion to stay this case pending appeal.
                 Alternatively, the defendants request that the Court stay its 53 May 5, 2021 Order as to all parties
                 except for the plaintiffs. Defs.' Emergency Mot. for a Stay Pending Appeal at 1 n.1, 8−9, Dkt. 57.
                 Although the plaintiffs have not yet filed an opposition to the defendants' motion, which was filed at
                 6:54 p.m. this evening, the defendants represent that the plaintiffs oppose the motion. Id. at 1 n.1. In
                 order to give the Court time to consider the merits of the defendants' 57 Emergency Motion for a
                 Stay Pending Appeal, and the plaintiffs time to file an opposition to the motion, the Court will grant
                 the defendants' request for a temporary administrative stay.

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                This Minute Order should not be construed in any way as a ruling on the merits of the defendants'
                motion. The Court notes, however, that, as the Court has explained, see Mem. Op. at 19, Dkt. 54,
                the law in this Circuit is clear: where a court concludes that an agency has exceeded its statutory
                authority, as this Court has done here, see Mem. Op. at 17, vacatur of the rule is the proper remedy
                in this Circuit. See Nat'l Mining Ass'n v. U.S. Army Corps of Eng'rs, 145 F.3d 1399, 1409 (D.C.
                Cir. 1998). Based on this clear authority, courts in this Circuit do not restrict vacatur only to those
                plaintiffs before the Court. See, e.g., O.A. v. Trump, 404 F. Supp. 3d 109, 152−53 (D.D.C. 2019).
                Indeed, the government has been unable to point to a single case in which a court in this Circuit has
                done so. See Mot. Hr'g Rough Tr. at 31.

                Accordingly, it is ORDERED that the Court's 53 May 5, 2021 Order is administratively STAYED.
                It is further ORDERED that the plaintiffs shall file any opposition to the defendants' motion on or
                before May 12, 2021, and the defendants shall file any reply within four days of the date the
                plaintiffs' opposition is filed. So Ordered by Judge Dabney L. Friedrich on May 5, 2021. (lcdlf1)

                (Entered: 05/05/2021)
05/05/2021      Set/Reset Deadlines: Responses due by 5/12/2021 (zjch) (Entered: 05/06/2021)
05/05/2021      USCA Case Number 21−5093 for 55 Notice of Appeal to DC Circuit Court, filed by NINA B
                WITKOFSKY, CENTERS FOR DISEASE CONTROL AND PREVENTION, WILLIAM P.
                BARR, ROBERT R. REDFIELD, UNITED STATES DEPARTMENT OF JUSTICE, ALEX M.
                AZAR, II, UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES. (eg)
                (Entered: 05/06/2021)
05/07/2021 58 Memorandum in opposition to re 57 Emergency MOTION to Stay re 54 Memorandum & Opinion,
              53 Order on Motion for Summary Judgment,, Order on Motion to Dismiss,,, (Emergency Motion for
              Stay Pending Appeal and Immediate Administrative Stay) filed by ALABAMA ASSOCIATION OF
              REALTORS, DANNY FORDHAM, FORDHAM & ASSOCIATES, LLC, GEORGIA
              ASSOCIATION OF REALTORS, ROBERT GILSTRAP, H.E. CAUTHEN LAND AND
              DEVELOPMENT, LLC, TITLE ONE MANAGEMENT, LLC. (Attachments: # 1 Proposed
              Order)(Shumate, Brett) (Entered: 05/07/2021)
05/11/2021 59 REPLY to opposition to motion re 57 Emergency MOTION to Stay re 54 Memorandum & Opinion,
              53 Order on Motion for Summary Judgment,, Order on Motion to Dismiss,,, (Emergency Motion for
              Stay Pending Appeal and Immediate Administrative Stay) filed by ALEX M. AZAR, II, WILLIAM
              P. BARR, CENTERS FOR DISEASE CONTROL AND PREVENTION, ROBERT R. REDFIELD,
              UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES, UNITED STATES
              DEPARTMENT OF JUSTICE, NINA B WITKOFSKY. (Myers, Steven) (Entered: 05/11/2021)
05/14/2021 60 ORDER granting the defendants' 57 Emergency Motion for Stay Pending Appeal. See text for
              details. Signed by Judge Dabney L. Friedrich on May 14, 2021. (lcdlf1) (Entered: 05/14/2021)
05/14/2021 61 MEMORANDUM OPINION regarding the defendants' 57 Emergency Motion for Stay Pending
              Appeal. See text for details. Signed by Judge Dabney L. Friedrich on May 14, 2021. (lcdlf1)
              (Entered: 05/14/2021)
05/17/2021 62 NOTICE by ALABAMA ASSOCIATION OF REALTORS, DANNY FORDHAM, FORDHAM &
              ASSOCIATES, LLC, GEORGIA ASSOCIATION OF REALTORS, ROBERT GILSTRAP, H.E.
              CAUTHEN LAND AND DEVELOPMENT, LLC, TITLE ONE MANAGEMENT, LLC (Shumate,
              Brett) (Entered: 05/17/2021)
05/17/2021 64 LEAVE TO FILE DENIED− Motion for Joinder This document is unavailable as the Court denied
              its filing. "Leave to filed DENIED. The Court closed this case on May 5, 2021". Signed by Judge
              Dabney L. Friedrich on May 17, 2021. (zeg) (Entered: 05/21/2021)
05/19/2021 63 RESPONSE re 62 Notice (Other) filed by ALEX M. AZAR, II, WILLIAM P. BARR, CENTERS
              FOR DISEASE CONTROL AND PREVENTION, ROBERT R. REDFIELD, UNITED STATES
              DEPARTMENT OF HEALTH AND HUMAN SERVICES, UNITED STATES DEPARTMENT
              OF JUSTICE, NINA B WITKOFSKY. (Myers, Steven) (Entered: 05/19/2021)
05/21/2021      NOTICE OF ERROR re 62 Notice (Other); emailed to bshumate@jonesday.com, cc'd 13 associated
                attorneys −− The PDF file you docketed contained errors: 1. Incorrect header/caption/case number,
                2. FYI: All documents must be filed in PROPER PLEADING FORMAT. Letters are not accepted
                unless leave to file has been granted, (zeg, ) (Entered: 05/21/2021)



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06/14/2021 65 TRANSCRIPT OF MOTIONS HEARING before Judge Dabney L. Friedrich, held on 04/29/2021.
              Page Numbers: 1−44. Date of Issuance: 06/14/2021. Court Reporter: Sara Wick, telephone number
              202−354−3284. Transcripts may be ordered by submitting the Transcript Order Form

                For the first 90 days after this filing date, the transcript may be viewed at the courthouse at a public
                terminal or purchased from the court reporter referenced above. After 90 days, the transcript may be
                accessed via PACER. Other transcript formats, (multi−page, condensed, CD or ASCII) may be
                purchased from the court reporter.

                NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one days to file with
                the court and the court reporter any request to redact personal identifiers from this transcript. If no
                such requests are filed, the transcript will be made available to the public via PACER without
                redaction after 90 days. The policy, which includes the five personal identifiers specifically
                covered, is located on our website at www.dcd.uscourts.gov.

                Redaction Request due 7/5/2021. Redacted Transcript Deadline set for 7/15/2021. Release of
                Transcript Restriction set for 9/12/2021.(Wick, Sara) (Entered: 06/14/2021)
08/03/2021 66 NOTICE by ALEX M. AZAR, II, WILLIAM P. BARR, CENTERS FOR DISEASE CONTROL
              AND PREVENTION, ROBERT R. REDFIELD, UNITED STATES DEPARTMENT OF
              HEALTH AND HUMAN SERVICES, UNITED STATES DEPARTMENT OF JUSTICE, NINA B
              WITKOFSKY (Myers, Steven) (Entered: 08/03/2021)
08/04/2021 67 Emergency MOTION to Enforce the Supreme Court's Ruling and MOTION to Vacate the Stay
              Pending Appeal by ALABAMA ASSOCIATION OF REALTORS, DANNY FORDHAM,
              FORDHAM & ASSOCIATES, LLC, GEORGIA ASSOCIATION OF REALTORS, ROBERT
              GILSTRAP, H.E. CAUTHEN LAND AND DEVELOPMENT, LLC, TITLE ONE
              MANAGEMENT, LLC. (Attachments: # 1 Text of Proposed Order)(Shumate, Brett). Added
              MOTION to Vacate on 8/5/2021 (eg). (Entered: 08/04/2021)
08/05/2021      MINUTE ORDER. It is ORDERED that the defendants shall file any opposition to the plaintiffs' 67
                Emergency Motion before August 6, 2021 at 9:00 a.m. The plaintiffs shall file any reply before
                August 6, 2021 at 7:00 p.m. So Ordered by Judge Dabney L. Friedrich on August 5, 2021. (lcdlf1)
                (Entered: 08/05/2021)
08/05/2021 68 NOTICE of Appearance by John Robinson on behalf of All Defendants (Robinson, John) (Entered:
              08/05/2021)
08/06/2021 69 Memorandum in opposition to re 67 Emergency MOTION to Enforce the Supreme Court's Ruling
              and Vacate the Stay Pending Appeal MOTION to Vacate filed by ALEX M. AZAR, II, WILLIAM
              P. BARR, CENTERS FOR DISEASE CONTROL AND PREVENTION, ROBERT R. REDFIELD,
              UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES, UNITED STATES
              DEPARTMENT OF JUSTICE, NINA B WITKOFSKY. (Attachments: # 1 Text of Proposed
              Order)(Myers, Steven) (Entered: 08/06/2021)
08/06/2021 70 MOTION Leave to file brief as amicus curiae re 67 Emergency MOTION to Enforce the Supreme
              Court's Ruling and Vacate the Stay Pending Appeal MOTION to Vacate by Third Amendment
              Lawyers Association. (Attachments: # 1 Exhibit Amicus Brief, # 2 Text of Proposed
              Order)(Wolman, Jay) (Entered: 08/06/2021)
08/06/2021 71 REPLY to opposition to motion re 67 Emergency MOTION to Enforce the Supreme Court's Ruling
              and Vacate the Stay Pending Appeal MOTION to Vacate filed by ALABAMA ASSOCIATION OF
              REALTORS, DANNY FORDHAM, FORDHAM & ASSOCIATES, LLC, GEORGIA
              ASSOCIATION OF REALTORS, ROBERT GILSTRAP, H.E. CAUTHEN LAND AND
              DEVELOPMENT, LLC, TITLE ONE MANAGEMENT, LLC. (Shumate, Brett) (Entered:
              08/06/2021)
08/06/2021      MINUTE ORDER scheduling a hearing by videoconference on the plaintiffs' 67 Emergency Motion
                on August 9, 2021 at 10:00 a.m. So Ordered by Judge Dabney L. Friedrich on August 6, 2021.
                (lcdlf1) (Entered: 08/06/2021)
08/06/2021      NOTICE of Hearing: Motion Hearing set for 8/9/2021 at 10:00 AM via video before Judge Dabney
                L. Friedrich. (zjch) (Entered: 08/06/2021)
08/06/2021 72 NOTICE of Appearance by Brian D. Netter on behalf of All Defendants (Netter, Brian) (Entered:
              08/06/2021)


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08/09/2021      Minute Entry for proceedings held before Judge Dabney L. Friedrich: Motion Hearing held on
                8/9/2021 re 67 Emergency MOTION to Enforce the Supreme Court's Ruling and Vacate the Stay
                Pending Appeal MOTION to Vacate filed by FORDHAM & ASSOCIATES, LLC, ROBERT
                GILSTRAP, ALABAMA ASSOCIATION OF REALTORS, TITLE ONE MANAGEMENT, LLC,
                H.E. CAUTHEN LAND AND DEVELOPMENT, LLC, GEORGIA ASSOCIATION OF
                REALTORS, DANNY FORDHAM. Court Reporter Sara Wick (zjch) (Entered: 08/09/2021)
08/12/2021 73 NOTICE OF SUPPLEMENTAL AUTHORITY by ALABAMA ASSOCIATION OF REALTORS,
              DANNY FORDHAM, FORDHAM & ASSOCIATES, LLC, GEORGIA ASSOCIATION OF
              REALTORS, ROBERT GILSTRAP, H.E. CAUTHEN LAND AND DEVELOPMENT, LLC,
              TITLE ONE MANAGEMENT, LLC (Attachments: # 1 Exhibit A)(Shumate, Brett) (Entered:
              08/12/2021)
08/13/2021 74 MEMORANDUM OPINION AND ORDER denying the plaintiffs' 67 Emergency Motion to
              Enforce the Supreme Court's Ruling and Motion to Vacate the Stay Pending Appeal. See text for
              details. Signed by Judge Dabney L. Friedrich on August 13, 2021. (lcdlf1) (Entered: 08/13/2021)
08/24/2021 75 TRANSCRIPT OF MOTIONS HEARING before Judge Dabney L. Friedrich held on 08/09/2021.
              Page Numbers: 1−23. Date of Issuance: 08/24/2021. Court Reporter: Sara Wick, telephone number
              202−354−3284. Transcripts may be ordered by submitting the Transcript Order Form

                For the first 90 days after this filing date, the transcript may be viewed at the courthouse at a public
                terminal or purchased from the court reporter referenced above. After 90 days, the transcript may be
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                redaction after 90 days. The policy, which includes the five personal identifiers specifically
                covered, is located on our website at www.dcd.uscourts.gov.

                Redaction Request due 9/14/2021. Redacted Transcript Deadline set for 9/24/2021. Release of
                Transcript Restriction set for 11/22/2021.(Wick, Sara) (Entered: 08/24/2021)
08/25/2021 76 ORDER. In the 54 Memorandum Opinion of May 5, 2021, the Court noted that this opinion would
              be updated to include citations to the final hearing transcript from the April 29, 2021 motions
              hearing once it became available. The Court is now in receipt of that transcript. Accordingly,
              attached is an updated version of the 54 Memorandum Opinion that includes those citations. The
              Clerk of Court is directed to update the docket accordingly. So Ordered by Judge Dabney L.
              Friedrich on August 25, 2021. (Entered: 08/25/2021)




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  ALABAMA ASSOCIATION OF
  REALTORS, et al.,
                                                        No. 20-cv-3377 (DLF)
      Plaintiffs,

          v.

  UNITED STATES DEPARTMENT OF
  HEALTH AND HUMAN SERVICES, et al.,

      Defendants.


                                       NOTICE OF APPEAL

         PLEASE TAKE NOTICE that all Defendants (United States Department of Health and

 Human Services; Xavier Becerra, in his official capacity as Secretary of Health and Human Services;

 United States Department of Justice; Merrick B. Garland, in his official capacity as Attorney General;

 Centers for Disease Control; Rochelle P. Walensky, in her official capacity as Director, Centers for

 Disease Control and Prevention; and Sherri A. Berger, in her official capacity as Acting Chief of Staff

 for Centers for Disease Control and Prevention), hereby appeal to the United States Court of Appeals

 for the District of Columbia Circuit from this Court’s Order of May 5, 2021, along with its

 Memorandum Opinion of May 5, 2021.


 Dated: May 5, 2021                                     Respectfully submitted,

                                                        BRIAN M. BOYNTON
                                                        Acting Assistant Attorney General

                                                        ERIC BECKENHAUER
                                                        Assistant Director, Federal Programs Branch

                                                        /s/ Leslie Cooper Vigen
                                                        LESLIE COOPER VIGEN
                                                        Trial Attorney (DC Bar No. 1019782)




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        Case 1:20-cv-03377-DLF Document 55 Filed 05/05/21 Page 2 of 2
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                                           STEVEN A. MYERS
                                           Senior Trial Counsel (NY Bar No. 4823043)
                                           United States Department of Justice
                                           Civil Division, Federal Programs Branch
                                           1100 L Street, NW
                                           Washington, DC 20005
                                           Tel: (202) 305-0727
                                           Fax: (202) 616-8470
                                           E-mail: leslie.vigen@usdoj.gov

                                           Counsel for Defendants




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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  ALABAMA ASSOCIATION OF
  REALTORS, et al.,

                Plaintiffs,

         v.                                              No. 20-cv-3377 (DLF)

  UNITED STATES DEPARTMENT OF
  HEALTH AND HUMAN SERVICES, et al.,

                Defendants.


                                           ORDER

        For the reasons stated in the accompanying Memorandum Opinion, it is

        ORDERED that the defendants’ Motion for Summary Judgment, Dkt. 26, and Partial

 Motion to Dismiss, Dkt. 32, are DENIED. It is further

        ORDERED that the plaintiffs’ Motion for Expedited Summary Judgment, Dkt. 6, is

 GRANTED. It is further

        ORDERED that the nationwide eviction moratorium issued by the Centers for Disease

 Control and Prevention, and currently in effect at 86 Fed. Reg. 16,731, is VACATED.




                                                           ________________________
                                                           DABNEY L. FRIEDRICH
 May 5, 2021                                               United States District Judge




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       Case 1:20-cv-03377-DLF Document 54 Filed 05/05/21 Page 1 of 20
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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


  ALABAMA ASSOCIATION OF
  REALTORS, et al.,

                  Plaintiffs,

         v.                                                 No. 20-cv-3377 (DLF)

  UNITED STATES DEPARTMENT OF
  HEALTH AND HUMAN SERVICES, et al.,

                  Defendants.


                                   MEMORANDUM OPINION

        As part of the Coronavirus Aid, Relief, and Economic Security Act (CARES Act), Pub.

 L. No. 116-136, 134 Stat. 281 (2020), Congress enacted a 120-day eviction moratorium that

 applied to rental properties receiving federal assistance, id. § 4024(b). After that moratorium

 expired, the U.S. Department of Health and Human Services (HHS), through the Centers for

 Disease Control and Prevention (CDC), issued an order implementing a broader eviction

 moratorium that applied to all rental properties nationwide, 85 Fed. Reg. 55,292 (Sept. 4, 2020),

 which prompted this suit. Since then, Congress has granted a 30-day extension of the CDC

 Order, and the CDC has extended the order twice itself. The current order is set to expire on

 June 30, 2021.

        In this action, the plaintiffs raise a number of statutory and constitutional challenges to

 the CDC Order. Before the Court is the plaintiffs’ Motion for Expedited Summary Judgment,

 Dkt. 6, as well as the Department’s Motion for Summary Judgment, Dkt. 26, and Partial Motion

 to Dismiss, Dkt. 32. For the reasons that follow, the Court will grant the plaintiffs’ motion and

 deny the Department’s motions.




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 I.       BACKGROUND

          On March 13, 2020, then-President Trump declared COVID-19 a national emergency.

 See generally Declaring a National Emergency Concerning the Novel Coronavirus Disease

 (COVID-19) Outbreak, Proclamation 9994, 85 Fed. Reg. 15,337 (Mar. 13, 2020). Two weeks

 later, he signed the CARES Act into law. See Pub. L. No. 116-136, 134 Stat. 281 (2020). The

 CARES Act included a 120-day eviction moratorium with respect to rental properties that

 participated in federal assistance programs or were subject to federally-backed loans. See id. §

 4024. In addition, some—but not all—states adopted their own temporary eviction moratoria.

 Administrative Record (“AR”) at 966–72, 986–1024, Dkt. 40. The CARES Act’s federal

 eviction moratorium expired in July 2020.

          On August 8, 2020, then-President Trump issued an executive order directing the

 Secretary of HHS (“the Secretary”) and the Director of the CDC to “consider whether any

 measures temporarily halting residential evictions of any tenants for failure to pay rent are

 reasonably necessary to prevent the further spread of COVID-19 from one State or possession

 into any other State or possession.” Fighting the Spread of COVID-19 by Providing Assistance

 to Renters and Homeowners, Executive Order 13,945, 85 Fed. Reg. 49,935, 49,936 (Aug. 8,

 2020).

          Weeks later, on September 4, 2020, the CDC issued the “Temporary Halt in Residential

 Evictions To Prevent the Further Spread of COVID-19” (“CDC Order”), pursuant to § 361 of the

 Public Health Service Act, 42 U.S.C. § 264(a), and 42 C.F.R. § 70.2. 85 Fed. Reg. 55,292 (Sept.

 4, 2020). In this order, the CDC determined that a temporary halt on residential evictions was “a

 reasonably necessary measure . . . to prevent the further spread of COVID-19.” 85 Fed. Reg. at

 55,296. As the CDC explained, the eviction moratorium facilitates self-isolation for individuals




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 infected with COVID-19 or who are at a higher-risk of severe illness from COVID-19 given

 their underlying medical conditions. Id. at 55,294. It also enhances state and local officials’

 ability to implement stay-at-home orders and other social distancing measures, reduces the need

 for congregate housing, and helps prevent homelessness. Id. at 55,294.

        The CDC Order declared that “a landlord, owner of a residential property, or other person

 with a legal right to pursue eviction or possessory action shall not evict any covered person.” Id.

 at 55,296. To qualify for protection under the moratorium, a tenant must submit a declaration to

 their landlord affirming that they: (1) have “used best efforts to obtain all available government

 assistance for rent or housing”; (2) expect to earn less than $99,000 in annual income in 2020,

 were not required to report any income in 2019 to the Internal Revenue Service, or received a

 stimulus check under the CARES Act; (3) are “unable to pay the full rent or make a full housing

 payment due to substantial loss of household income, loss of compensable hours of work or

 wages, a lay-off, or extraordinary out-of-pocket medical expenses”; (4) are “using best efforts to

 make timely partial payments”; (5) would likely become homeless or be forced to move into a

 shared residence if evicted; (6) understand that rent obligations still apply; and (7) understand

 that the moratorium is scheduled to end on December 31, 2020. Id. at 55,297.

        Unlike the CARES Act’s moratorium, which only applied to certain federally backed

 rental properties, the CDC Order applied to all residential properties nationwide. Id. at 55,293.

 In addition, the CDC Order includes criminal penalties. Individuals who violate its provisions

 are subject to a fine of up to $250,000, one year in jail, or both, and organizations are subject to a

 fine of up to $500,000. Id. at 55,296.

        The CDC Order was originally slated to expire on December 31, 2020. Id. at 55,297. As

 part of the Consolidated Appropriations Act, however, Congress extended the CDC Order to




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 apply through January 31, 2021, Pub. L. No. 116-260, § 502, 134 Stat. 1182 (2020). On January

 29, 2021, the CDC extended the order through March 31, 2021. Temporary Halt in Residential

 Evictions to Prevent the Further Spread of COVID-19, 86 Fed. Reg. 8020 (Feb. 3, 2021). In this

 extension, the CDC updated its findings to account for new evidence of how conditions had

 worsened since the original order was issued, as well as “[p]reliminary modeling projections and

 observational data” from states that lifted eviction moratoria “indicat[ing] that evictions

 substantially contribute to COVID-19 transmission.” Id. at 8022. The CDC later extended the

 order through June 30, 2021. Temporary Halt in Residential Evictions to Prevent the Further

 Spread of COVID-19, 86 Fed. Reg. 16,731 (Mar. 31, 2021).

            A. Procedural History

        The plaintiffs—Danny Fordham, Robert Gilstrap, the corporate entities they use to

 manage rental properties (Fordham & Associates, LLC, H.E. Cauthen Land and Development,

 LLC, and Title One Management, LLC), and two trade associations (the Alabama and Georgia

 Associations of Realtors)—filed this action on November 20, 2020. Compl., Dkt. 1. They

 challenge the lawfulness of the eviction moratorium on a number of statutory and constitutional

 grounds. The plaintiffs allege that the eviction moratorium exceeds the CDC’s statutory

 authority, id. ¶¶ 81–84 (Count III), violates the notice-and-comment requirement, id. ¶¶ 63–70

 (Count I), and is arbitrary and capricious, id. ¶¶ 85–91 (Count IV), all in violation of the

 Administrative Procedure Act (APA). The plaintiffs further allege that the eviction moratorium

 fails to comply with the Regulatory Flexibility Act. Id. ¶¶ 71–78 (Count II). To the extent that

 the Public Health Service Act authorizes the eviction moratorium, the plaintiffs allege that the

 Act is an unconstitutional delegation of legislative power under Article I. Id. ¶¶ 92–95 (Count

 V). Finally, the plaintiffs allege that the eviction moratorium constitutes an unlawful taking of




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 property in violation of the Takings Clause, id. ¶¶ 96–103 (Count VI), violates the Due Process

 Clause, id. ¶¶ 96–110 (Count VII), and deprives the plaintiffs of their right of access to courts,

 id. ¶¶ 111–15 (Count VIII). The plaintiffs seek declaratory and injunctive relief, attorneys’ fees

 and costs, and any other relief the Court deems just and proper. Id. ¶¶ 116–20.

        Before the Court is the plaintiffs’ expedited motion for summary judgment, Dkt. 6, and

 the Department’s cross-motion for summary judgment. Also before the Court is the

 Department’s partial motion to dismiss, Dkt. 32, in which the Department argues that Congress

 ratified the CDC Order when it extended the eviction moratorium in the Consolidated

 Appropriations Act of 2021. All three motions are now ripe for review.

            B. Relevant Decisions

        This Court is not the first to address a challenge to the national eviction moratorium set

 forth in the CDC Order. In the last several months, at least six courts have considered various

 statutory and constitutional challenges to the CDC Order. Most recently, the Sixth Circuit

 denied a motion to stay a district court decision that held that the order exceeded the CDC’s

 authority under 42 U.S.C. § 264(a), see Tiger Lily, LLC v. United States Dep’t of Hous. & Urb.

 Dev., No. 2:20-cv-2692, 2021 WL 1171887, at *4 (W.D. Tenn. Mar. 15, 2021) (concluding that

 the CDC Order exceeded the statutory authority of the Public Health Service Act), appeal filed

 No. 21-5256 (6th Cir. 2021); Tiger Lily, LLC v. United States Dep’t of Hous. & Urb. Dev., 992

 F.3d 518, 520 (6th Cir. 2021) (denying emergency motion for stay pending appeal); see also

 Skyworks, Ltd. v. Ctrs. for Disease Control & Prevention, No. 5:20-cv-2407, 2021 WL 911720,

 at *12 (N.D. Ohio Mar. 10, 2021) (holding that the CDC exceeded its authority under 42 U.S.C.

 § 264(a)). Two other district courts, however, declined to enjoin the CDC Order at the

 preliminary injunction stage, see Brown v. Azar, No. 1:20-cv-03702, 2020 WL 6364310, at *9–




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 11 (N.D. Ga. Oct. 29, 2020), appeal filed, No. 20-14210 (11th Cir. 2020); Chambless

 Enterprises, LLC v. Redfield, No. 20-cv-01455, 2020 WL 7588849, at *5–9 (W.D. La. Dec. 22,

 2020), appeal filed, No. 21-30037 (5th Cir. 2021). Separately, another district court declared

 that the federal government lacks the constitutional authority altogether to issue a nationwide

 moratorium on evictions. See Terkel v. Ctrs. for Disease Control & Prevention, No. 6:20-cv-

 564, 2021 WL 742877, at *1–2, 10–11 (E.D. Tex. Feb. 25, 2021), appeal filed, No. 21-40137

 (5th Cir. 2021).

 II.    LEGAL STANDARD

        Summary judgment is proper if the moving party “shows that there is no genuine dispute

 as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

 56(a); see also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986). A fact is

 “material” if it has the potential to change the substantive outcome of the litigation. See id. at

 248; Holcomb v. Powell, 433 F.3d 889, 895 (D.C. Cir. 2006). And a dispute is “genuine” if a

 reasonable jury could determine that the evidence warrants a verdict for the nonmoving party.

 See Anderson, 477 U.S. at 248; Holcomb, 433 F.3d at 895.

        In a case reviewing agency action, summary judgment “serves as the mechanism for

 deciding, as a matter of law, whether the agency action is supported by the administrative record

 and otherwise consistent with the APA standard of review.” Sierra Club v. Mainella, 459 F.

 Supp. 2d 76, 90 (D.D.C. 2006). “[T]he entire case . . . is a question of law,” and the district court

 “sits as an appellate tribunal.” Am. Bioscience, Inc. v. Thompson, 269 F.3d 1077, 1083 (D.C.

 Cir. 2001) (internal quotation marks and footnote omitted).




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 III.   ANALYSIS

            A. Standing

        Article III of the Constitution limits the “judicial Power” of federal courts to “Cases” and

 “Controversies.” U.S. Const. art. III, § 2, cl. 1. “[T]here is no justiciable case or controversy

 unless the plaintiff has standing.” West v. Lynch, 845 F.3d 1228, 1230 (D.C. Cir. 2017). To

 establish standing, a plaintiff must demonstrate a concrete injury-in-fact that is fairly traceable to

 the defendant’s action and redressable by a favorable judicial decision. Summers v. Earth Island

 Inst., 555 U.S. 488, 493 (2009).

        Since the CDC Order went into effect, the three real estate management company

 plaintiffs have each had tenants who have stopped paying rent, invoked the protections of the

 eviction moratorium, and would be subject to eviction but for the CDC Order. See Decl. of

 Danny Fordham ¶¶ 2–5, 9–17, Dkt. 6-2; Decl. of Robert Gilstrap ¶¶ 2, 4–12, Dkt. 6-3. At a

 minimum, these three plaintiffs have established a concrete injury that is traceable to the CDC

 Order and is redressable by a decision vacating the CDC Order. See Summers, 555 U.S. at 493.

 “[I]t is immaterial that other plaintiffs might be unable to demonstrate their own standing,” J.D.

 v. Azar, 925 F.3d 1291, 1323 (D.C. Cir. 2019), because “Article III’s case-or-controversy

 requirement is satisfied if one plaintiff can establish injury and standing,” id.

            B. The Agency’s Statutory Authority

        Section 361 of the Public Health Service Act empowers the Secretary to “make and

 enforce such regulations as in his judgment are necessary to prevent the introduction,

 transmission, or spread of communicable diseases” either internationally or between states.1 42


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   “Although the statute states that this authority belongs to the Surgeon General, subsequent
 reorganizations not relevant here have resulted in the transfer of this responsibility to the
 Secretary.” Skyworks, 2021 WL 911720, at *5.



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 U.S.C. § 264(a). “For purposes of carrying out and enforcing such regulations,” the Secretary is

 authorized to “provide for such inspection, fumigation, disinfection, sanitation, pest

 extermination, destruction of animals or articles found to be so infected or contaminated as to be

 sources of dangerous infection to human beings, and other measures, as in his judgment may be

 necessary.” Id. The Secretary is also authorized to, within certain limits, make and enforce

 regulations to apprehend, examine, and, if necessary, detain individuals “believed to be infected

 with a communicable disease” or who are “coming into a State or possession” from a foreign

 country. Id. § 264(b)–(d).

         By regulation, the Secretary delegated this authority to the Director of the CDC. 42

 C.F.R. § 70.2. Pursuant to this regulation, when the Director of the CDC determines that the

 measures taken by health authorities of any state or local jurisdiction are insufficient to prevent

 the spread of communicable disease, “he/she may take such measures to prevent such spread of

 the diseases as he/she deems reasonably necessary, including inspection, fumigation,

 disinfection, sanitation, pest extermination, and destruction of animals or articles believed to be

 sources of infection.” Id.

         In determining whether the eviction moratorium in the CDC Order exceeds the

 Department’s statutory authority, the Department urges the Court to apply the familiar two-step

 Chevron framework. See Defs.’ Mot. for Summ. J. (“Def.’s Cross-Mot.”) at 8 (citing Chevron,

 U.S.A., Inc. v. Nat’l Res. Def. Council, Inc., 467 U.S. 837, 842 (1984)). While it is true that “the

 CDC did not follow APA notice-and-comment rulemaking procedures before issuing the

 Eviction Moratorium,” Pl.’s Mem. in Supp. of Expedited Mot. for Summ. J. (“Pl.’s Mem.”) at

 21, Dkt. 6-1, “Chevron deference is not necessarily limited to regulations that are the product of

 notice-and-comment rulemaking,” Pub. Citizen, Inc. v. U.S. Dep’t of Health & Hum. Servs., 332




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 F.3d 654, 660 (D.C. Cir. 2003). The Chevron framework applies where “Congress [has]

 delegated authority to the agency generally to make rules carrying the force of law” and “the

 agency interpretation claiming deference was promulgated in the exercise of that authority.”

 United States v. Mead, 533 U.S. 218, 226–27 (2001); Fox v. Clinton, 684 F.3d 67, 78 (D.C. Cir.

 2012). Here, the CDC Order was issued pursuant to a broad grant of rulemaking authority, see

 42 U.S.C. § 264(a) (authorizing the Secretary to “make and enforce” regulations “to prevent the

 introduction, transmission, or spread of communicable diseases.”); 42 C.F.R. § 70.2 (delegating

 this authority to the Director of the CDC), and was “clearly intended to have general

 applicability.” Kaufman v. Nielsen, 896 F.3d 475, 484 (D.C. Cir. 2018). It was also issued “with

 a lawmaking pretense in mind,” Mead, 533 U.S. at 233, published in the Federal Register, see

 Citizens Exposing Truth about Casinos v. Kempthorne, 492 F.3d 460, 467 (D.C. Cir. 2007), and

 backed with the threat of criminal penalties, 85 Fed. Reg. 55,296. Because the CDC Order was

 clearly intended to have the force of law, the two-step Chevron framework applies.2

        Applying Chevron and using the traditional tools of statutory interpretation, a court must

 first consider at Step One “whether Congress has directly spoken to the precise question at issue.”

 Chevron, 467 U.S. at 842. “If Congress has directly spoken to [an] issue, that is the end of the



 2
   The fact that section 361 of the Public Health Service Act is administered by both the CDC and
 the FDA, see Control of Communicable Diseases; Apprehension and Detention of Persons With
 Specific Diseases; Transfer of Regulations, 65 Fed. Reg. 49,906, 49,907 (Aug. 16, 2000), does
 not preclude application of the Chevron framework. While courts “generally do not apply
 Chevron deference when the statute in question is administered by multiple agencies,” Kaufman,
 896 F.3d at 483; see also, e.g., DeNaples v. Office of Comptroller of Currency, 706 F.3d 481,
 487 (D.C. Cir. 2013), the FDA and the CDC are both sub-agencies within HHS. Accordingly,
 “there is nothing special to undermine Chevron’s premise that the grant of authority reflected a
 congressional expectation that courts would defer” to reasonable agency interpretations of the
 statute, and there is little risk of “conflicting mandates to regulated entities.” Loan Syndications
 & Trading Ass’n v. Sec. & Exch. Comm’n, 882 F.3d 220, 222 (D.C. Cir. 2018) (summarizing
 instances where “Chevron is inapplicable due to the multiplicity of agencies”).



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 matter.” Confederated Tribes of Grand Ronde Cmty. of Or. v. Jewell, 830 F.3d 552, 558 (D.C.

 Cir. 2016) (citing Chevron, 467 U.S. at 837). “[T]he court, as well [as] the agency, must give

 effect to the unambiguously expressed intent of Congress.” Lubow v. U.S. Dep’t of State, 783

 F.3d 877, 884 (D.C. Cir. 2015) (quoting Chevron, 467 U.S. at 842–43). Only if the text is silent

 or ambiguous does a court proceed to Step Two. There, a court must “determine if the agency’s

 interpretation is permissible, and if so, defer to it.” Confederated Tribes of Grand Ronde Cmty.,

 830 F.3d at 558. To determine “whether [an] agency’s interpretation is permissible or instead is

 foreclosed by the statute,” courts use “all the tools of statutory interpretation,” Loving v. IRS, 742

 F.3d 1013, 1016 (D.C. Cir. 2014), and “interpret the words [of a statute] consistent with their

 ordinary meaning at the time Congress enacted the statute,” Wisconsin Cent. Ltd. v. United

 States, 138 S. Ct. 2067, 2070 (2018) (internal quotation marks and alteration omitted); see also

 Antonin Scalia & Bryan A. Garner, Reading Law: The Interpretation of Legal Texts 78 (2012)

 (“Words must be given the meaning they had when the text was adopted.”).

         The first question, then, is whether the relevant statutory language addresses the “precise

 question at issue.” Chevron, 467 U.S. at 842. As noted, the Public Health Service Act provides,

 in relevant part:

         The [CDC], with the approval of the Secretary, is authorized to make and enforce such
         regulations as in his judgment are necessary to prevent the introduction, transmission, or
         spread of communicable diseases from foreign countries into the States or possessions, or
         from one State or possession into any other State or possession. For purposes of carrying
         out and enforcing such regulations, the [Secretary] may provide for such inspection,
         fumigation, disinfection, sanitation, pest extermination, destruction of animals or articles
         found to be so infected or contaminated as to be sources of dangerous infection to human
         beings, and other measures, as in his judgment may be necessary.

 42 U.S.C. § 264(a). Other subsections of the Act authorize, in certain circumstances, the

 quarantine of individuals in order to prevent the interstate or international spread of disease. See

 id. § 264(b)–(d). Though the Public Health Service Act grants the Secretary broad authority to



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 make and enforce regulations necessary to prevent the spread of disease, his authority is not

 limitless.

         Section 264(a) provides the Secretary with general rulemaking authority to “make and

 enforce such regulations,” id. § 264(a) (emphasis added), that “in his judgment are necessary” to

 combat the international or interstate spread of communicable disease, id. But this broad grant

 of rulemaking authority in the first sentence of § 264(a) is tethered to—and narrowed by—the

 second sentence. It states: “For purposes of carrying out and enforcing such regulations,” id.

 (emphasis added), the Secretary “may provide for such inspection, fumigation, disinfection,

 sanitation, pest extermination [and] destruction of animals or articles found to be so infected or

 contaminated as to be sources of dangerous infection to human beings.” Id.

         These enumerated measures are not exhaustive. The Secretary may provide for “other

 measures, as in his judgment may be necessary.” Id. But any such “other measures” are

 “controlled and defined by reference to the enumerated categories before it.” See Tiger Lily, 992

 F.3d at 522–23 (internal quotation marks and alteration omitted); id. at 522 (applying the

 ejusdem generis canon to interpret the residual catchall phrase in § 264(a)). These “other

 measures” must therefore be similar in nature to those listed in § 264(a). Id.; Skyworks, 2021

 WL 911720, at *10. And consequently, like the enumerated measures, these “other measures”

 are limited in two significant respects: first, they must be directed toward “animals or articles,”

 42 U.S.C. § 264(a), and second, those “animals or articles” must be “found to be so infected or

 contaminated as to be sources of dangerous infection to human beings,” id.; see Skyworks, 2021

 WL 911720, at *10. In other words, any regulations enacted pursuant to § 264(a) must be

 directed toward “specific targets ‘found’ to be sources of infection.” Id.




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        The national eviction moratorium satisfies none of these textual limitations. Plainly,

 imposing a moratorium on evictions is different in nature than “inspect[ing], fumigat[ing],

 disinfect[ing], sanit[izing], . . . exterminat[ing] [or] destr[oying],” 42 U.S.C. § 264(a), a potential

 source of infection. See Tiger Lily, 992 F.3d at 524. Moreover, interpreting the term “articles”

 to include evictions would stretch the term beyond its plain meaning. See Webster’s New

 International Dictionary 156 (2d ed. 1945) (defining an “article” as “[a] thing of a particular class

 or kind” or “a commodity”); see also Skyworks, 2021 WL 911720, at *10. And even if the

 meaning of the term “articles” could be stretched that far, the statute instructs that they must be

 “found to be so infected or contaminated as to be sources of dangerous infection to human

 beings.” 42 U.S.C. § 264(a). The Secretary has made no such findings here. The fact that

 individuals with COVID-19 can be asymptomatic and that the disease is difficult to detect, Mot.

 Hr’g Rough Tr. at 26,3 does not broaden the Secretary’s authority beyond what the plain text of §

 264(a) permits.

        The Department reads § 264(a) another way. In the Department’s view, the grant of

 rulemaking authority in § 264(a) is not limited in any way by the specific measures enumerated

 in § 264(a)’s second sentence. Defs.’ Cross-Mot. at 18, 19 n.2. According to the Department,

 Congress granted the Secretary the “broad authority to make and enforce” any regulations that

 “in his judgment are necessary to prevent the spread of disease,” id. at 11 (internal quotation

 marks omitted), across states or from foreign countries. In other words, the grant of rulemaking

 authority in § 264(a)’s first sentence is a congressional deferral to “the ‘judgment’ of public




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  The official transcript from the motions hearing held on April 29, 2021 is forthcoming, and this
 opinion will be updated to include citations to that transcript when it becomes available.



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 health authorities about what measures they deem ‘necessary’ to prevent contagion.” Id. at 9

 (quoting 42 U.S.C. § 264(a)).

        The Department’s interpretation goes too far. The first sentence of § 264(a) is the

 starting point in assessing the scope of the Secretary’s delegated authority. But it is not the

 ending point. While it is true that Congress granted the Secretary broad authority to protect the

 public health, it also prescribed clear means by which the Secretary could achieve that purpose.

 See Colo. River Indian Tribes v. Nat’l Indian Gaming Comm’n, 466 F.3d 134, 139 (D.C. Cir.

 2006). And those means place concrete limits on the steps the Department can take to prevent

 the interstate and international spread of disease. See supra at 11. To interpret the Act otherwise

 would ignore its text and structure.

        At Chevron’s first step, this Court must apply the “ordinary tools of the judicial craft,”

 Mozilla Corp. v. Fed. Commc’ns Comm’n, 940 F.3d 1, 20 (D.C. Cir. 2019), including canons of

 construction, see ArQule, Inc. v. Kappos, 793 F. Supp. 2d 214, 219–20 (D.D.C. 2011). These

 canons confirm what the plain text reveals. The Secretary’s authority does not extend as far as

 the Department contends.

        First, “[i]t is… a cardinal principle of statutory construction that [courts] must give

 effect, if possible, to every clause and word of a statute.” Williams v. Taylor, 529 U.S. 362, 404

 (2000) (internal quotation marks omitted). Applying that principle here, the Department’s broad

 reading of § 264(a)’s first sentence would render the second sentence superfluous. If the first

 sentence empowered the Secretary to enact any regulation that, in his “judgment,” was

 “necessary” to prevent the interstate spread of communicable disease, id., there would be no

 need for Congress to enumerate the “measures” that the Secretary “may provide for” to carry out

 and enforce those regulations, see id. Though the surplusage canon “is not absolute,” Lamie v.




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 U.S. Tr., 540 U.S. 526, 536 (2004); Arlington Cent. Sch. Dist. Bd. of Educ. v. Murphy, 548 U.S.

 291, 299 n.1 (2006), like the plain language, it supports a narrow reading of the statute.

        Second, the canon of constitutional avoidance instructs that a court shall construe a

 statute to avoid serious constitutional problems unless such a construction is contrary to the clear

 intent of Congress. See Edward J. DeBartolo Corp. v. Fla. Gulf Coast Bldg. & Constr. Trades

 Council, 485 U.S. 568, 575 (1988). An overly expansive reading of the statute that extends a

 nearly unlimited grant of legislative power to the Secretary would raise serious constitutional

 concerns, as other courts have found. See, e.g., Skyworks, 2021 WL 911720, at *9 (noting that

 such a reading would raise doubts as to “whether Congress violated the Constitution by granting

 such a broad delegation of power unbounded by clear limitations or principles.”); Tiger Lily, 992

 F.3d at 523 (same); id. (“[W]e cannot read the Public Health Service Act to grant the CDC

 power to insert itself into the landlord-tenant relationship without some clear, unequivocal

 textual evidence of Congress’s intent to do so”); Terkel, 2021 WL 742877, at *4–6 (holding that

 the CDC’s eviction moratorium exceeds the federal government’s power under the Commerce

 Clause). Congress did not express a clear intent to grant the Secretary such sweeping authority.

        And third, the major questions doctrine is based on the same principle: courts “expect

 Congress to speak clearly if it wishes to assign to an agency decisions of vast ‘economic and

 political significance.’” Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014) (quoting FDA v.

 Brown & Williamson Tobacco Corp., 529 U.S. 120, 133 (2000) (emphasis added)); Am. Lung

 Ass’n v. EPA, 985 F.3d 914, 959 (D.C. Cir. 2021) (collecting cases). There is no question that

 the decision to impose a nationwide moratorium on evictions is one “of vast economic and

 political significance.” Util. Air Regul. Grp., 573 U.S. at 324 (internal quotation marks omitted).




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 Not only does the moratorium have substantial economic effects,4 eviction moratoria have been

 the subject of “earnest and profound debate across the country,” Gonzales v. Oregon, 546 U.S.

 243, 267 (2006) (internal quotation marks omitted). At least forty-three states and the District of

 Columbia have imposed state-based eviction moratoria at some point during the COVID-19

 pandemic, see 86 Fed. Reg. 16,731, 16,734, though, as the CDC noted in its most recent

 extension of the CDC Order, these protections either “have expired or are set to expire in many

 jurisdictions,” id. at 16,737 n.35. Congress itself has twice addressed the moratorium on a

 nationwide-level—once through the CARES Act, see Pub. L. No. 116-136, § 4024, 134 Stat. 281

 (2020), and again through the Consolidated Appropriations Act, see Pub. L. No. 116-260, § 502,

 134 Stat. 1182 (2020).

        Accepting the Department’s expansive interpretation of the Act would mean that

 Congress delegated to the Secretary the authority to resolve not only this important question, but

 endless others that are also subject to “earnest and profound debate across the country.”

 Gonzales, 546 U.S. at 267 (internal quotation marks omitted). Under its reading, so long as the

 Secretary can make a determination that a given measure is “necessary” to combat the interstate

 or international spread of disease, there is no limit to the reach of his authority.5


 4
   In their briefing, the parties dispute the economic impact of the CDC order, see, e.g., Pl.’s
 Mem. at 2 (estimating the nation’s landlords will suffer “$55-76 billion” in losses as a
 consequence of the initial moratorium); Def.’s Cross-Mot. at 15 n.4 (disputing these figures).
 Regardless, the economic impact of the CDC Order is substantial. Indeed, the CDC itself
 estimates that “as many as 30-40 million people in America could be at risk of eviction” absent
 the CDC’s moratorium as well as other State and local protections, 85 Fed. Reg. at 55,294–95.
 The CDC Order also qualifies as “a major rule under the Congressional Review Act,” id. at
 55,296, which means it is expected to have “an annual effect on the economy of $100,000,000 or
 more,” 5 U.S.C. § 804(2).
 5
   The only other potential limitation, imposed by regulation, is that the Director of the CDC
 would need to conclude that state and local health authorities have not taken sufficient measures
 to prevent the spread of communicable disease. See 42 C.F.R. § 70.2.



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        “Congress could not have intended to delegate” such extraordinary power “to an agency

 in so cryptic a fashion.” Brown & Williamson Tobacco Corp., 529 U.S. at 159. To be sure,

 COVID-19 is a novel disease that poses unique and substantial public health challenges, see

 Def.’s Cross-Mot. at 14, but the Court is “confident that the enacting Congress did not intend to

 grow such a large elephant in such a small mousehole.” Loving., 742 F.3d at 1021; see also

 Brown & Williamson, 529 U.S. at 160.

        It is also telling that the CDC has never used § 264(a) in this manner. As the Department

 confirms, § 264(a) “has never been used to implement a temporary eviction moratorium,” and

 “has rarely [been] utilized . . . for disease-control purposes.” See Defs.’ Cross-Mot. at 13–15, 23.

 “When an agency claims to discover in a long-extant statute an unheralded power to regulate a

 significant portion of the American economy,” the Court must “greet its announcement with a

 measure of skepticism.” Util. Air Regul. Grp., 573 U.S. at 324 (internal quotation marks

 omitted).

        The Department advances one final counterargument. It notes that subsequent

 subsections of the statute, § 264(b)–(d), contemplate that the Secretary may, under certain

 carefully prescribed circumstances, provide for the “apprehension, detention, or conditional

 release of individuals” who are arriving in the United States from abroad or who are “reasonably

 believed to be infected with a communicable disease,” 42 U.S.C. § 264(b)–(d). And it stresses

 that enforced quarantines are not listed in—and are different in kind from—the measures

 enumerated in § 264(a). Defs.’ Cross-Mot. at 10–11. Accordingly, the Department contends

 that the presence of these subsequent subsections demonstrates that the list of means in the

 second sentence of § 264(a) imposes no limits on the Secretary’s authority under § 264(a). Id.




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        This argument is not persuasive. No doubt, Congress intended to give the Secretary—

 and, by extension, health experts in the CDC—the discretion and flexibility to thwart the spread

 of disease. But the quarantine provisions in § 264(b)–(d) are structurally separate from those in

 § 264(a). Tiger Lily, 992 F.3d at 524 (noting that the provisions in § 264(b)–(d) restrict

 individual liberty interests, while § 264(a) is concerned exclusively with property interests). And

 regardless, like the enumerated measures in § 264(a), the quarantine provisions are cabined and

 directed toward individuals who are either entering the United States or “reasonably believed to

 be infected,” 42 U.S.C. § 264(c)–(d), and “not to amorphous disease spread” more generally,

 Skyworks, 2021 WL 911720, at *10. The quarantine provisions in § 264(b)–(d) therefore do not

 provide support for the eviction moratorium.

        In sum, the Public Health Service Act authorizes the Department to combat the spread of

 disease through a range of measures, but these measures plainly do not encompass the

 nationwide eviction moratorium set forth in the CDC Order.6 Thus, the Department has

 exceeded the authority provided in § 361 of the Public Health Service Act, 42 U.S.C. § 264(a).

            C. Ratification of the CDC Order

        In its partial motion to dismiss, the Department argues that Congress ratified the agency’s

 action when it extended the moratorium in the Consolidated Appropriations Act.7 See Defs.’

 Partial Mot. at 7–9. The initial CDC Order was set to expire on December 31, 2020, see 85 Fed.



 6
  Because the CDC Order exceeds the Secretary’s authority, the Court need not address the
 plaintiffs’ remaining challenges to the eviction moratorium.
 7
  The Department initially argued in its partial motion to dismiss that Counts I-V of the
 complaint were moot in light of Congress’s extension of the CDC Order. Defs.’ Mem. in Supp.
 of Partial Mot. to Dismiss (“Defs.’ Partial Mot.”) at 1, Dkt. 32-1. But this congressional
 extension of the CDC Order has since expired, so the Department has withdrawn this argument.
 See Joint Status Report at 2, Dkt. 36.



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 Reg. at 55,297, but Congress extended the expiration date until January 31, 2021, by including §

 502 in the Consolidated Appropriations Act. Section 502 provided:

        The order issued by the Centers for Disease Control and Prevention under section 361
        of the Public Health Service Act (42 U.S.C. 264), entitled ‘‘Temporary Halt in
        Residential Evictions To Prevent the Further Spread of COVID–19’’ (85 Fed. Reg.
        55292 (September 4, 2020) is extended through January 31, 2021, notwithstanding the
        effective dates specified in such Order.

 Pub. L. No. 116-260, § 502, 134 Stat. 1182 (2020).

        “Congress ‘has the power to ratify the acts which it might have authorized’ in the first

 place,” Thomas v. Network Sols., Inc., 176 F.3d 500, 506 (D.C. Cir. 1999) (quoting United States

 v. Heinszen & Co., 206 U.S. 370, 384 (1907)), “and give the force of law to official action

 unauthorized when taken,” Swayne & Hoyt v. United States, 300 U.S. 297, 301–02 (1937). To

 do so, however, Congress must make its intention explicit. Heinszen, 206 U.S. at 390.

        Congress did not do so here. When Congress granted a temporary extension of the

 eviction moratorium by enacting § 502, it acknowledged that the CDC issued its order pursuant

 to the Public Health Service Act. It did not, however, expressly approve of the agency’s

 interpretation of 42 U.S.C. § 264(a) or provide the agency with any additional statutory

 authority. See Tiger Lily, 992 F.3d at 524; Skyworks, 2021 WL 911720, at *12. Instead,

 Congress merely extended the CDC Order for a limited 30-day duration.

        “[C]ongressional acquiescence to administrative interpretations of a statute” is

 “recognize[d]. . . with extreme care.” See Solid Waste Agency of N. Cook Cty. v. U.S. Army

 Corps of Eng’rs, 531 U.S. 159, 160 (2001). “[M]ere congressional acquiescence in the CDC’s

 assertion that the [CDC Order] was supported by 42 U.S.C. § 264(a) does not make it so.” Tiger

 Lily, 992 F.3d at 524. Because Congress withdrew its support for the CDC Order on January 31,

 2021, the order now stands—and falls—on the text of the Public Health Service Act alone. For




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 all the reasons stated above, supra Part III.B., the national eviction moratorium in the CDC

 Order is unambiguously foreclosed by the plain language of the Public Health Service Act.

            D. Remedy

        Both parties agree that if the Court concludes that the Secretary exceeded his authority by

 issuing the CDC Order, vacatur is the appropriate remedy. See Mot. Hr’g Rough Tr. at 13, 30–

 31. Nonetheless, the Department urges the Court to limit any vacatur order to the plaintiffs with

 standing before this Court. Defs.’ Partial Mot. to Dismiss at 23. This position is “at odds with

 settled precedent.” O.A. v. Trump, 404 F. Supp. 3d 109, 153 (D.D.C. 2019).

        This Circuit has instructed that when “regulations are unlawful, the ordinary result is that

 the rules are vacated—not that their application to the individual petitioner is proscribed.” Nat’l

 Mining Ass’n v. U.S. Army Corps of Eng’rs, 145 F.3d 1399, 1409 (D.C. Cir. 1998) (internal

 quotation marks omitted); see also O.A., 404 F. Supp. 3d at 109. Accordingly, consistent with

 the Administrative Procedure Act, 5 U.S.C. § 706(2)(A), and this Circuit’s precedent, see Nat’l

 Mining Ass’n, 145 F.3d at 1409, the CDC Order must be set aside.

                                                  ***

        The Court recognizes that the COVID-19 pandemic is a serious public health crisis that

 has presented unprecedented challenges for public health officials and the nation as a whole.

 The pandemic has triggered difficult policy decisions that have had enormous real-world

 consequences. The nationwide eviction moratorium is one such decision.

        It is the role of the political branches, and not the courts, to assess the merits of policy

 measures designed to combat the spread of disease, even during a global pandemic. The

 question for the Court is a narrow one: Does the Public Health Service Act grant the CDC the

 legal authority to impose a nationwide eviction moratorium? It does not. Because the plain




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 language of the Public Health Service Act, 42 U.S.C. § 264(a), unambiguously forecloses the

 nationwide eviction moratorium, the Court must set aside the CDC Order, consistent with the

 Administrative Procedure Act, see 5 U.S.C. § 706(2)(C), and D.C. Circuit precedent, see

 National Mining Ass’n, 145 F.3d at 1409.

                                        CONCLUSION

        For the foregoing reasons, the plaintiffs’ motion for expedited summary judgment is

 granted and the Department’s motion for summary judgment and partial motion to dismiss are

 denied. A separate order consistent with this decision accompanies this memorandum opinion.




                                                           ________________________
                                                           DABNEY L. FRIEDRICH
 May 5, 2021                                               United States District Judge




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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  ALABAMA ASSOCIATION OF
  REALTORS, et al.,

                Plaintiffs,

         v.                                            No. 20-cv-3377 (DLF)

  UNITED STATES DEPARTMENT OF
  HEALTH AND HUMAN SERVICES, et al.,

                Defendants.


                                           ORDER

        For the reasons stated in the accompanying Memorandum Opinion, it is

        ORDERED that the defendants’ Emergency Motion for Stay Pending Appeal, Dkt. 57, is

 GRANTED. It is further

        ORDERED that, pursuant to Federal Rule of Civil Procedure 62(c), this Court’s May 5,

 2021 Order, Dkt. 53, will remain STAYED pending the defendants’ appeal in this matter.




                                                          ________________________
                                                          DABNEY L. FRIEDRICH
 May 14, 2021                                             United States District Judge




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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


  ALABAMA ASSOCIATION OF
  REALTORS, et al.,

                 Plaintiffs,

         v.                                                 No. 20-cv-3377 (DLF)

  UNITED STATES DEPARTMENT OF
  HEALTH AND HUMAN SERVICES, et al.,

                 Defendants.


                                   MEMORANDUM OPINION

        Before the Court is the Department of Health and Human Service’s (“the Department”)

 Emergency Motion for Stay Pending Appeal. Dkt. 57. Pursuant to Federal Rule of Civil

 Procedure 62(c), the Department seeks a stay of the Court’s May 5, 2021 order vacating the

 nationwide eviction moratorium issued by the Centers for Disease Control and Prevention

 (“CDC”). See Dkt. 53. For the reasons that follow, the Court will grant the motion.

 I.     LEGAL STANDARD

        A stay pending appeal is an “extraordinary remedy,” Cuomo v. U.S. Nuclear Regul.

 Comm’n, 772 F.2d 972, 978 (D.C. Cir. 1985) (per curiam), as it “is an intrusion into the ordinary

 processes of administration and judicial review,” Nken v. Holder, 556 U.S. 418, 427 (2009)

 (internal quotation marks omitted). Accordingly, it “is not a matter of right.” Id. (internal

 quotation marks omitted). “It is instead an exercise of judicial discretion” that “is dependent

 upon the circumstances of the particular case.” Id. at 433 (internal quotation marks omitted).

        The moving party bears the burden of showing that this extraordinary remedy is

 warranted upon consideration of four factors: “(1) whether the stay applicant has made a strong




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 showing that he is likely to succeed on the merits; (2) whether the applicant will be irreparably

 injured absent a stay; (3) whether issuance of the stay will substantially injure the other parties

 interested in the proceeding; and (4) where the public interest lies.” Id. at 433–34 (internal

 quotation marks omitted). The first two factors “are the most critical,” id. at 434, and when the

 government is a party, its “harm and the public interest are one and the same, because the

 government’s interest is the public interest,” Pursuing America’s Greatness v. FEC, 831 F.3d

 500, 511 (D.C. Cir. 2016) (emphasis in original); see Nken, 556 U.S. at 435.

        “The manner in which courts should weigh the four factors ‘remains an open question’ in

 this Circuit.” Nora v. Wolf, No. 20-cv-0993, 2020 WL 3469670, at *6 (D.D.C. Jun. 25, 2020)

 (quoting Aamer v. Obama, 742 F.3d 1023, 1043 (D.C. Cir. 2014)). At least in the context of

 weighing whether to grant a preliminary injunction, the D.C. Circuit has “suggested, without

 deciding,” that Winter v. Natural Resources Defense Council, 555 U.S. 7 (2008), could be read

 to require a plaintiff “to independently demonstrate both a likelihood of success on the merits

 and irreparable harm,” Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 205 F. Supp. 3d

 4, 26 (D.D.C. 2016) (quoting Sherley v. Sebelius, 644 F.3d 388, 392–93 (D.C. Cir. 2011)). But

 in the absence of clear guidance, courts in this Circuit have continued to analyze the factors “on a

 sliding scale whereby a strong showing on one factor could make up for a weaker showing on

 another.” NAACP v. Trump, 321 F. Supp. 3d 143, 146 (D.D.C. 2018) (internal quotation marks

 omitted). Under this framework, a movant may make up for a lower likelihood of success on the

 merits “with a strong showing as to the other three factors, provided that the issue on appeal

 presents a ‘serious legal question’ on the merits.” Cigar Ass’n of Am. v. FDA, 317 F. Supp. 3d

 555, 560 (D.D.C. 2018) (quoting Wash. Metro. Area Transit Comm’n v. Holiday Tours, Inc., 559

 F.2d 841, 844 (D.C. Cir. 1977)). Here, the Court will adopt the approach taken by other judges




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 and “apply th[is] sliding scale approach” to determine whether the Department is entitled to a

 stay pending resolution of its appeal. See NAACP, 321 F. Supp. 3d at 146 (internal quotation

 marks omitted). To prevail under this standard, the Department “need only raise a serious legal

 question on the merits” if the “other factors strongly favor issuing a stay.” Id. (internal quotation

 marks omitted).

 II.    ANALYSIS

            A. Likelihood of Success

        As to the first factor—the likelihood of success on the merits—“[i]t is not enough that the

 chance of success on the merits [is] better than negligible.” Nken, 556 U.S. at 434 (internal

 quotation marks omitted). Rather, it must be “substantial.” Holiday Tours, 559 F.2d at 843.

        Here, the Department has not shown a substantial likelihood of success on the merits.

 The Public Health Service Act provides, in relevant part:

        The [CDC], with the approval of the Secretary, is authorized to make and enforce such
        regulations as in his judgment are necessary to prevent the introduction, transmission, or
        spread of communicable diseases from foreign countries into the States or possessions, or
        from one State or possession into any other State or possession. For purposes of carrying
        out and enforcing such regulations, the [Secretary] may provide for such inspection,
        fumigation, disinfection, sanitation, pest extermination, destruction of animals or articles
        found to be so infected or contaminated as to be sources of dangerous infection to human
        beings, and other measures, as in his judgment may be necessary.

 42 U.S.C. § 264(a).

        The Department continues to argue that this statutory provision vests the Secretary with

 “broad authority to make and enforce” any regulations that “in his judgment are necessary to

 prevent the spread of disease,” Defs.’ Mot. for Summ. J. at 11 (internal quotation marks

 omitted), Dkt. 26, and that the second sentence of § 264(a) imposes no limit on this “broad grant

 of authority,” Defs.’ Emergency Mot. for Stay Pending Appeal (“Defs.’ Mot. to Stay”) at 7–8.




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        The Court disagrees. Like other courts before it, this Court concluded in its May 5, 2021

 Memorandum Opinion that the broad grant of rulemaking authority in the first sentence of

 § 264(a) is tethered to—and narrowed by—the second sentence, which enumerates various

 measures the Secretary “may provide for” to carry out and enforce regulations issued under

 § 264(a): “inspection, fumigation, disinfection, sanitation, pest extermination, [and] destruction

 of animals or articles found to be so infected or contaminated as to be sources of dangerous

 infection to human beings.” 42 U.S.C. § 264(a); see Mem. Op. of May 5, 2021 at 11, Dkt. 54.

 The Department is correct that this list of measures is not exhaustive, as the Secretary may

 provide for “other measures, as in his judgment may be necessary.” 42 U.S.C. § 264(a). But

 these “other measures” are “controlled and defined by reference to the enumerated categories

 before it.” See Tiger Lily, LLC v. U.S. Dep’t of Hous. & Urb. Dev., 992 F.3d 518, 522–23 (6th

 Cir. 2021) (internal quotation marks and alteration omitted).

        With that in mind, the statute could be read as requiring that the enumerated measures be

 directed toward “animals or articles,” 42 U.S.C. § 264(a), that are “found to be so infected or

 contaminated as to be sources of dangerous infection to human beings,” id.; see Skyworks, Ltd. v.

 Ctrs. for Disease Control & Prevention, No. 5:20-cv-2407, 2021 WL 911720, at *10 (N.D. Ohio

 Mar. 10, 2021); Mem. Op. of May 5, 2021 at 11–12. Alternatively, the statute could be

 interpreted to tie the limitations surrounding “animals or articles” solely to “destruction.” 42

 U.S.C. § 264(a). But even then, the enumerated measures—“inspection, fumigation,

 disinfection, sanitation, [and] pest extermination,” id.—are “by their common meanings and

 understandings. . . tied to specific, identifiable properties,” Skyworks, 2021 WL 911720, at *9.

 And under either reading, an eviction moratorium is “radically unlike” the measures enumerated

 in the statute. See Tiger Lily, 992 F.3d at 524 (interpreting 42 U.S.C. § 264(a)). As this Court




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 and others have noted, to read the enumerated measures in § 264(a) as imposing no limits on the

 Secretary’s authority to “make and enforce regulations” would raise serious constitutional

 concerns. See Mem. Op. of May 5, 2021 at 14 (collecting cases).

        The Department also contends it has a “substantial likelihood of success on appeal

 because Congress ratified the CDC Order in the 2021 Consolidated Appropriations Act.” Defs.’

 Mot. to Stay at 2. In § 502 of that Act, Congress provided:

        The order issued by the Centers for Disease Control and Prevention under section 361
        of the Public Health Service Act (42 U.S.C. 264), entitled ‘‘Temporary Halt in
        Residential Evictions To Prevent the Further Spread of COVID–19’’ (85 Fed. Reg.
        55292 (September 4, 2020) is extended through January 31, 2021, notwithstanding the
        effective dates specified in such Order.

 Pub. L. No. 116-260, § 502, 134 Stat. 1182, 2078–79 (2020).

        It is true that Congress may “give the force of law to official action unauthorized when

 taken.” Swayne & Hoyt v. United States, 300 U.S. 297, 301–02 (1937). But to ratify such

 action, Congress must make its intention clear. See United States v. Heinszen & Co., 206 U.S.

 370, 390 (1907); see also Fund for Animals, Inc. v. U.S. Bureau of Land Mgmt., 460 F.3d 13, 19

 n.7 (D.C. Cir. 2006) (noting ratification may occur when there is a “clear statement of

 congressional approval”) (internal citation omitted). While no “magic words are required,”

 Defs.’ Reply in Supp. of Partial Mot. to Dismiss at 5, Dkt. 38, Congress must use “clear and

 unequivocal language,” EEOC v. CBS, Inc., 743 F.2d 969, 974 (2d Cir. 1984), to ratify “official

 action unauthorized when taken,” Swayne & Hoyt, 300 U.S. at 302.

        Congress did not do so here. As other cases illustrate, the language of § 502 falls short of

 statutory provisions courts have found to ratify agency action. See, e.g., Thomas v. Network

 Sols., Inc., 176 F.3d 500, 505 (D.C. Cir. 1999) (“is hereby legalized and ratified and confirmed

 as fully to all intents and purposes as if the same had, by prior act of Congress, been specifically




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 authorized and directed”); Patchak v. Jewell, 109 F. Supp. 3d 152, 158 (D.D.C. 2015) (“are

 ratified and confirmed”), aff’d, 828 F.3d 995 (D.C. Cir. 2016), aff’d sub nom. Patchak v. Zinke,

 138 S. Ct. 897 (2018); Am. Fed’n of Gov’t Emps. v. D.C. Fin. Resp. & Mgmt. Assistance Auth.,

 133 F. Supp. 2d 75, 77–78 (D.D.C. 2001) (“is hereby ratified and approved”); James v. Hodel,

 696 F. Supp. 699, 701 (D.D.C. 1988) (“Congress hereby ratifies and confirms”), aff’d sub nom.

 James v. Lujan, 893 F.2d 1404 (D.C. Cir. 1990); Heinszen, 206 U.S. at 381 (“hereby legalized

 and ratified” and “is hereby legalized and ratified and confirmed as fully to all intents and

 purposes as if the same had, by prior act of Congress, been specifically authorized and

 directed”); cf. Ex parte Endo, 323 U.S. 283, 303 n.24 (1944) (ratification may occur through an

 appropriation only if the appropriation “plainly show[s] a purpose to bestow the precise authority

 which is claimed.”); Schism v. United States, 316 F.3d 1259, 1290 (Fed. Cir. 2002)

 (“[R]atification ordinarily cannot occur in the appropriations context unless the appropriations

 bill itself expressly allocates funds for a specific agency or activity.”) (emphasis added).

           By contrast, when Congress enacted § 502 of the Consolidated Appropriations Act, it

 simply acknowledged that the CDC issued its order pursuant to the Public Health Service Act.

 Mem. Op. of May 5, 2021 at 18. It did not expressly approve of the agency’s interpretation of 42

 U.S.C. § 264(a), nor did it provide the agency with any additional statutory authority. See id.

 “All § 502 did was congressionally extend the agency’s action until January 31, 2021.” Tiger

 Lily, 992 F.3d at 524. Because that date has now passed—and Congress has therefore withdrawn

 its support—the CDC Order must rely exclusively on the text of the Public Health Service Act.

 See id.

           The Department also points to the “nationwide reach of this Court’s judgment,” Defs.’

 Reply in Supp. of Mot. to Stay at 7, Dkt. 59, and insists that “traditional principles of equity and




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 Article III jurisdiction require limiting relief to the Plaintiffs,” Defs.’ Mot. to Stay at 8–9

 (emphasis added). This argument, however, is “at odds with settled precedent.” See O.A. v.

 Trump, 404 F. Supp. 3d 109, 153 (D.D.C. 2019). The D.C. Circuit has instructed that when a

 regulation is declared unlawful, “the ordinary result is that the rule[] [is] vacated—not that [its]

 application to the individual petitioner is proscribed.” Nat’l Mining Ass’n v. U.S. Army Corps of

 Eng’rs, 145 F.3d 1399, 1409 (D.C. Cir. 1998) (internal quotation marks omitted). In this Circuit,

 “the law is clear that when a court vacates an agency rule, the vacatur applies to all regulated

 parties, not only those formally before the court.” D.A.M. v. Barr, 486 F. Supp. 3d 404, 415

 (D.D.C. 2020); O.A., 404 F. Supp. 3d at 152 (collecting cases).

         For these reasons and for those stated in the Court’s May 5, 2021 Memorandum Opinion,

 the Department has not shown a substantial likelihood of success on the merits. Arguably, the

 Department’s failure to meet this standard is a fatal flaw for its motion. See M.M.V. v. Barr, 459

 F. Supp. 3d 1, 4 (D.D.C. 2020) (citing Citizens for Resp. & Ethics in Wash. v. Fed. Election

 Comm’n, 904 F.3d 1014, 1019 (D.C. Cir. 2018) (per curiam)). Indeed, in another case

 challenging the CDC Order, the Sixth Circuit denied a similar emergency motion for stay on this

 ground alone. See Tiger Lily, 992 F.3d at 524 (“Given that the government is unlikely to succeed

 on the merits, we need not consider the remaining stay factors.”).

         But, as noted, in this Circuit a movant’s failure to demonstrate a likelihood of success on

 the merits does not preclude a stay if they have raised a “serious legal question on the merits.”

 See Cigar Ass’n of Am., 317 F. Supp. 3d at 560 (internal quotation marks omitted); Holiday

 Tours, 559 F.2d at 843. Although a majority of courts that have addressed the lawfulness of the

 CDC Order reached the same conclusion as this Court, see Mem. Op. of May 5, 2021 at 5

 (collecting cases), two have disagreed, at least at the preliminary injunction stage, see Brown v.




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 Azar, No. 20-cv-03702, 2020 WL 6364310, at *9–11 (N.D. Ga. Oct. 29, 2020), appeal filed, No.

 20-14210 (11th Cir. 2020); Chambless Enters., LLC v. Redfield, No. 20-cv-01455, 2020 WL

 7588849, at *5–9 (W.D. La. Dec. 22, 2020), appeal filed, No. 21-30037 (5th Cir. 2021). Given

 the diverging rulings of these courts and the significance of the CDC Order, the Department has

 met this less demanding standard. See Cigar Ass’n of Am., 317 F. Supp. 3d at 560 (internal

 quotation marks omitted). The Department therefore can obtain a stay if it makes a sufficiently

 strong showing as to the remaining stay factors. See NAACP, 321 F. Supp. 3d at 146.

            B. Remaining Factors

        As to the second factor—whether the movant will be irreparably injured absent a stay—

 the movant must make a strong showing “that the injury claimed is both certain and great.”

 Cuomo, 772 F.2d at 976 (internal quotation marks omitted). “Probability of success is inversely

 proportional to the degree of irreparable injury evidenced.” Id. at 974. “A stay may be granted

 with either a high probability of success and some injury, or vice versa.” Id.

        The Department has made a showing of irreparable injury here. As the federal agency

 tasked with disease control, the Department, and the CDC in particular, have a strong interest in

 controlling the spread of COVID-19 and protecting public health. The CDC’s most recent order

 is supported by observational data analyses that estimate that as many as 433,000 cases of

 COVID-19 and thousands of deaths could be attributed to the lifting of state-based eviction

 moratoria. See 86 Fed. Reg. 16,731, 16,734 (Mar. 31, 2021). The CDC Order also cites a

 mathematical model that “estimate[s] that anywhere from 1,000 to 100,000 excess cases per

 million population could be attributable to evictions depending on the eviction and infection

 rates.” Id. To be sure, these figures are estimates, but they nonetheless demonstrate that lifting

 the national moratorium will “exacerbate the significant public health risks identified by [the]




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 CDC.” Defs.’ Mot. to Stay at 3. Even though “vaccinations are on the rise,” Pls.’ Opp’n at 2, at

 least as of last week, the nation was averaging “more than 45,000 new infections per day,” Defs.’

 Mot. to Stay at 5–6, and the recent “emergence of variants” presents yet another potential cause

 for concern, see 86 Fed. Reg. at 16,733. Thus, the risks to public health continue.

        As to the third factor—the risk of injury to the plaintiffs—the economic impact of the

 CDC Order is indeed substantial. See Mem. Op. of May 5, 2021 at 15 n.4. The plaintiffs assert

 that landlords will continue to lose between $13.8 and $19 billion each month in unpaid rent as a

 result of the CDC Order, and that over the course of the year their cumulative losses will be close

 to $200 billion. Pl’s Opp’n at 7 (citing Decl. of Scholastica Cororaton ¶¶ 15, 17, Dkt. 6-4).

        While these financial losses are severe, some are recoverable. See Brown, 2020 WL

 6364310, at *20 (explaining that the fact “tenants may not currently be able to afford their rent”

 does not mean that the plaintiffs “will likely never be able to collect a judgment”). The CDC

 Order itself does not excuse tenants from making rental payments. See 86 Fed. Reg. at 16,736.

 It simply delays them. See id. Congress also has taken steps to provide financial relief to tenants

 and landlords through the Consolidated Appropriations Act, § 501, 134 Stat. at 2070–78, and the

 American Rescue Plan Act, Pub. L. No. 117-2, § 3201(a)(1), 135 Stat. 4, 54 (2021). These

 efforts help mitigate the landlords’ financial losses.

        A stay to allow the D.C. Circuit time to review this Court’s ruling, presumably on an

 expedited basis, will no doubt result in continued financial losses to landlords. But the

 magnitude of these additional financial losses is outweighed by the Department’s weighty

 interest in protecting the public. See League of Indep. Fitness Facilities & Trainers, Inc. v.

 Whitmer, 814 F. App’x 125, 129–30 (6th Cir. 2020).




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        Finally, the fourth factor—the public interest—weighs in favor of a stay for the public

 health reasons discussed. The fact that this “litigation presents questions of ‘extraordinary public

 moment’ [is] a consideration which [also] militates in favor of a stay.” Al-Adahi v. Obama, 672

 F. Supp. 2d 81, 84 (D.D.C. 2009) (quoting Landis v. N. Am. Co., 299 U.S. 248, 256 (1936)).

                                                 ***

        Weighing each of the traditional stay factors, the Court will exercise its discretion to

 grant the Department’s Emergency Motion for Stay Pending Appeal. Although the Court

 believes, as one Circuit has already held, see Tiger Lily, 992 F.3d at 524, there is not a

 substantial likelihood the Department will succeed on appeal, the CDC’s nationwide eviction

 moratorium raises serious legal questions. The Department also has made a sufficiently strong

 showing as to the remaining factors to justify a stay of this Court’s decision.

        The Court remains mindful that landlords across the country have incurred substantial

 economic hardships as a result of the CDC’s nationwide moratorium on evictions. The longer

 the moratorium remains in effect, the more these hardships will be exacerbated. Even so, given

 the public health consequences cited by the CDC, a stay is warranted.

                                           CONCLUSION
        For the foregoing reasons, the Department’s Emergency Motion for Stay Pending Appeal

 is granted. A separate order consistent with this decision accompanies this memorandum

 opinion.



                                                               ________________________
                                                               DABNEY L. FRIEDRICH
 May 14, 2021                                                  United States District Judge




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                                                                        1:20-cv-03377-DLF
                                                        Filed On: June 2, 2021
 Alabama Association of Realtors, et al.,

               Appellees

        v.

 United States Department of Health and
 Human Services, et al.,

               Appellants


        BEFORE:       Millett, Pillard, and Wilkins, Circuit Judges

                                          ORDER

         The United States Department of Health and Human Services, the Centers for
 Disease Control and Prevention (“CDC”), and other federal agencies and officials
 (collectively, “HHS”) appeal the district court’s order entering summary judgment in
 favor of Appellees and vacating the nationwide temporary eviction moratorium instituted
 by the CDC in light of the COVID-19 pandemic. Shortly after HHS noticed the appeal,
 the district court entered an administrative stay of its order, and HHS filed in this court a
 contingent emergency motion for a stay pending appeal in the event the district court
 did not grant the stay motion HHS filed in that court. The district court subsequently
 stayed its own summary judgment order pending appeal. Appellees have filed in this
 court an emergency motion to vacate that stay pending appeal. Upon consideration of
 Appellees’ emergency motion to vacate the stay pending appeal, the opposition thereto,
 and the reply, HHS’s contingent emergency motion for a stay, and the motion for leave
 to participate as amicus and the lodged amicus brief, it is

         ORDERED that the motion to vacate the stay pending appeal be denied. In
 evaluating a motion to vacate a stay entered by the district court, this court reviews the
 district court’s decision under the deferential abuse-of-discretion standard of review.
 See Washington Metro. Area Transit Comm’n v. Holiday Tours, Inc., 559 F.2d 841,
 843–44 (D.C. Cir. 1977); see also Sherley v. Sebelius, 644 F.3d 388, 393 (D.C. Cir.
 2011).

        The district court did not abuse its discretion in granting a stay in this case.
 Under this court’s traditional four-factor test for a stay, we ask whether (1) the stay
 applicant has made a strong showing that it is likely to succeed on the merits; (2) the
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 applicant will be irreparably injured absent a stay; (3) issuance of a stay would
 substantially injure other interested parties; and (4) the public interest favors or
 disfavors a stay. See Nken v. Holder, 556 U.S. 418, 434 (2009); see also Alabama
 Ass’n of Realtors v. HHS, No. 20-cv-3377 (DLF), 2021 WL 1946376, at *1 (D.D.C. May
 14, 2021). While Appellees object to the district court’s use of a sliding-scale analysis,
 we need not and do not address the propriety of that approach because Appellees have
 not shown that vacatur is warranted under the likelihood-of-success standard that they
 would apply.

        As to the first factor, while of course not resolving the ultimate merits of the legal
 question, we conclude that HHS has made a strong showing that it is likely to succeed
 on the merits. See Nken, 556 U.S. at 434. We do so for the following four reasons.

        First, the CDC’s eviction moratorium falls within the plain text of 42 U.S.C.
 § 264(a). Congress expressly determined that responding to events that by their very
 nature are unpredictable, exigent, and pose grave danger to human life and health
 requires prompt and calibrated actions grounded in expert public-health judgments.
 Section 264(a) authorizes the Secretary of HHS “to make and enforce such regulations
 as in his judgment are necessary to prevent the introduction, transmission, or spread of
 communicable diseases from foreign countries into the States or possessions, or from
 one State or possession into any other State or possession.” 42 U.S.C. § 264(a).1
 Congress thereby designated the HHS Secretary the expert best positioned to
 determine the need for such preventative measures, twice stating that it authorizes
 such measures as the Secretary determines “in his judgment [are] necessary.”
 42 U.S.C. § 264(a). That text also makes a determination of necessity a prerequisite to
 any exercise of Section 264 authority, and that necessity standard constrains the
 granted authority in a material and substantial way.

         Here, to ensure that the moratorium was tailored to the necessity that prompted
 it, HHS carefully targeted it to the subset of evictions it determined to be necessary to
 curb the spread of the deadly and quickly spreading Covid-19 pandemic. Notably,
 Appellees do not dispute HHS’s determination that the moratorium would “prevent the
 [interstate] introduction, transmission, or spread” of COVID. Temporary Halt in
 Residential Evictions to Prevent the Further Spread of COVID-19, 85 Fed. Reg. 55,292,
 55,295 (Sept. 4, 2020) (“The statistics on interstate moves show that mass evictions
 would likely increase the interstate spread of COVID-19.”). The agency reasonably


        1
         The Surgeon General’s and the Secretary’s authority under this provision has
 been delegated to the Director of the CDC. See Reorganization Plan No. 3 of 1966,
 31 Fed. Reg. 8855 (June 25, 1966); 42 C.F.R. § 70.2.

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 recognized that evicted people must move, and that a time-limited eviction moratorium
 would directly promote the self-isolation needed to help control the pandemic. Id. at
 55,294–55,295; Temporary Halt in Residential Evictions to Prevent the Further Spread
 of COVID-19, 86 Fed. Reg. 16,731, 16,733 (Mar. 31, 2021). The moratorium also
 applies only to those renters that the agency determined otherwise would likely need to
 move to congregate settings where COVID spreads quickly and easily, or would be
 rendered homeless and forced into shelters or other settings that would increase their
 susceptibility to COVID, the uncontained spread of the disease, and the adverse health
 consequences of its contraction. 86 Fed. Reg. at 16,735. In those ways, the
 moratorium fits within the textual authority conferred by Section 264(a) to adopt
 measures necessary to prevent the spread of a pandemic.

         Second, Congress has expressly recognized that the agency had the authority to
 issue its narrowly crafted moratorium under Section 264. Last December, rather than
 enact its own moratorium, Congress deliberately chose legislatively to extend the HHS
 moratorium and, in doing so, specifically to embrace HHS’s action “under section 361 of
 the Public Health Service Act (42 U.S.C. 264)[.]” Consolidated Appropriations Act,
 2021, Pub. L. No. 116-260, div. N, title V, § 502, 134 Stat. 1182, 2078–79 (Dec. 27,
 2020).

        Third, the text and structure of Section 264’s additional provisions—beyond the
 core statutory authority to take action “necessary” to “prevent the introduction,
 transmission, or spread of communicable diseases” interstate and
 internationally—reinforce HHS’s authority to temporarily suspend evictions. The
 second sentence of Section 264(a) provides that, “[f]or purposes of carrying out and
 enforcing such regulations” as are authorized by the provision’s first sentence, “the
 Surgeon General may provide for such inspection, fumigation, disinfection, sanitation,
 pest extermination, destruction of animals or articles found to be so infected or
 contaminated as to be sources of dangerous infection to human beings, and other
 measures, as in his judgment may be necessary.” 42 U.S.C. § 264(a). That language
 makes clear that HHS has even the exceptional authority to take measures carrying out
 its regulations that Congress in 1944 had reason to believe required express
 congressional authorization under the Fourth Amendment. See Oklahoma Press
 Publ’g Co. v. Walling Wage & Hour Adm’r, 327 U.S. 186, 201 & nn.26, 27 (1946) (citing
 FTC v. American Tobacco Co., 364 U.S. 298, 305–06 (1924)).

        Appellees argue that the balance of Section 264(a) constricts the scope of the
 regulatory authority the statute confers, and that the moratorium exceeds that authority.
 They argue, in particular, that the regulatory power under the first sentence of Section
 264(a) is limited to measures closely akin to those the second sentence enumerates.
 That is incorrect. By its plain wording, the second sentence applies not to the

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 substantive scope of the regulatory authority conferred, but to the measures that HHS
 can deploy to “carry[] out and enforc[e] such regulations[.]” 42 U.S.C. § 264(a). That is
 language of expansion, not contraction, designed to strengthen HHS’s ability to take the
 measures determined to be necessary to protect the public health from the dangers
 posed by contagious diseases that respect no boundaries. The ensuing subsections
 (b), (c), and (d) of Section 264 reinforce that point by their explicit reference to HHS’s
 regulatory power over the movement of persons to prevent the spread of communicable
 disease. Indeed, contrary to their cramped reading of Section 264(a), appellees
 acknowledge in their reply brief (at page 5) that Section 264’s regulatory power includes
 the power to prevent the interstate movement “of contagious persons[.]” That is the
 objective of the eviction moratorium.

        Fourth, HHS is likely to succeed notwithstanding the Appellees’ other
 statutory-construction arguments. Appellees suggest that a moratorium reaching rental
 property should be narrowly construed to avoid intrusion on “an area traditionally left to
 the States.” Appellant Br. 13. But Congress has well-established authority to regulate
 rental housing transactions because they “substantially affect[]” interstate commerce.
 Rancho Viejo, LLC v. Norton, 323 F.3d 1062, 1066, 1068–70 (D.C. Cir. 2003) (quoting
 United States v. Lopez, 514 U.S. 549, 558-59 (1995)); see Russell v. United States,
 471 U.S. 858, 862 (1985). Tellingly, under appellees’ Commerce Clause theory, even
 Congress’s extension of the moratorium was unconstitutional—a point that Appellees
 do not even acknowledge, let alone answer.

        HHS is also likely to succeed despite Appellants’ federalism objection because
 Congress expressly empowered HHS to act in areas of traditional state authority when
 necessary to prevent interstate transmission of disease. See Gregory v. Ashcroft,
 501 U.S. 452, 460 (1991). Appellees’ major-questions objection does not change the
 calculus, given the statute’s plain text and Congress’s explicit embrace in the
 Consolidated Appropriations Act of action it referenced HHS having taken under
 42 U.S.C. § 264. Cf. Utility Air Regulatory Grp. v. EPA, 573 U.S. 302, 324 (2014). As
 for Appellees’ non-delegation argument, Section 264's requirement that the regulatory
 measures adopted be “necessary to prevent the introduction, transmission, or spread of
 communicable diseases,” 42 U.S.C. § 264(a), provides an intelligible principle that
 guides the agency's authority. See Gundy v. United States, 139 S. Ct. 2116, 2129
 (2019); Whitman v. American Trucking Ass’ns, 531 U.S. 457, 472 (2001); Mistretta v.
 United States, 488 U.S. 361, 372–73 (1989).

        To be sure, HHS has not previously imposed a rental-eviction moratorium under
 Section 264. But no public health crisis even approaching the scale and gravity of this
 one has occurred since the Public Health Service Act was passed in 1944. Appellees
 point to the lack of other eviction moratoria as a reason to question the Secretary’s

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 power here, but the paucity of examples more likely underscores that the statutory
 constraints on HHS’s regulatory authority work. Cf. Appellees’ Br. In Supp. of
 Emergency Mot. to Vacate Stay 11-12; (quoting Utility Air Regulatory Grp., 573 U.S. at
 324); Reply Br. 5.

         The district court acted within its discretion in concluding that the remaining
 factors supported its stay of its own order. HHS has demonstrated “that lifting the
 national moratorium will ‘exacerbate the significant public health risks identified by [the]
 CDC’” because, even with increased vaccinations, COVID-19 continues to spread and
 infect persons, and new variants are emerging. See Alabama Ass’n of Realtors,
 2021 WL 1946376, at *4 (citation omitted). The government’s interest in avoiding this
 harm merges with the public interest factor. See Pursuing America’s Greatness v. FEC,
 831 F.3d 500, 511 (D.C. Cir. 2016) (“[I]n this case, the FEC’s harm and the public
 interest are one and the same, because the government’s interest is the public
 interest.” (emphasis in original)).

         As for harms to other parties, including Appellees, the record does not show any
 likelihood of irreparable injury. Appellees’ briefs make conclusory reference to general
 financial harms their declarant suggested could befall landlords nationwide. But the
 record is devoid of the requisite evidence of irreparable injury likely to befall the landlord
 parties to this case. In particular, the record does not demonstrate any likelihood that
 Appellees’ themselves will lose their businesses, that an appreciable percentage of
 their own tenants who would otherwise pay in full will be unable to repay back rent, or
 that financial shortfalls are unlikely ultimately to be mitigated.

         To the contrary, the calibrated design of the moratorium evidences and
 embodies Section 264’s limitations on HHS’s authority, ensuring that the steps taken
 are all “necessary.” 42 U.S.C. § 264(a). More specifically, the moratorium imposes
 several exacting conditions that circumscribe the reach and degree of relief the order
 provides, and narrowly tailors the imposition on landlords.

        For starters, not all tenants qualify for relief. The moratorium applies only to
 renters (not mortgage holders or hotel guests) (i) who cannot find other non-shared,
 non-congregate housing, and (ii) whose economic need meets a stated level, arises
 from specified circumstances, and could not otherwise be abated. See 86 Fed. Reg. at
 16,731–16,732 (definition of “Covered person” paragraphs (1)–(3), (5); and definition of
 “Residential property”). And the order allows landlords to initiate eviction proceedings
 and even to obtain removal orders—it is only the enforcement of such orders that has
 been temporarily halted. See 85 Fed. Reg. at 55,293 (defining “[e]vict” in part as “to
 remove or cause the removal of” a covered person from a residential property); CDC,
 HHS/CDC Temporary Halt in Residential Evictions to Prevent the Further Spread of

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 COVID-19: Frequently Asked Questions 1, https://go.usa.gov/xHvzV (last visited June
 1, 2021) (The moratorium is not “intended to prevent landlords from starting eviction
 proceedings, provided that the actual physical removal of a covered person for
 non-payment of rent does NOT take place during the period of the Order.”) (emphasis
 in original).

        On top of that, the obligation to pay all rent due remains, and provision has been
 made to address the interim shortfalls. Even those tenants who do qualify for
 protection remain obligated to pay their rent, and to make best efforts to promptly pay in
 part or full. 86 Fed. Reg. at 16,732 (definition of “Covered person” paragraph (4)); id. at
 16,738. The order specifically preserves the landlords’ legal right to recover all rent
 owed with interest and penalties. See 85 Fed. Reg. at 55,294–97. In the meantime,
 Congress has allocated substantial sums of money for rental assistance that is
 intended and designed to run to landlords like Appellees. See, e.g., Consolidated
 Appropriations Act, 2021, div. N, title V, § 501, 134 Stat. at 2070-78.

        The fact that Appellees waited eleven weeks before bringing their challenge to
 the moratorium and have not asked this court for an expedited resolution of the merits
 of the appeal further suggests that the current moratorium extension—from March 31
 through June 30, 2021—does not impose irreparable harm supporting vacatur of the
 stay. Cf. Fund for Animals v. Frizzell, 530 F.2d 982, 987 (D.C. Cir. 1975).

        Given all of that, the district court properly concluded that Appellees’ financial
 losses are at least partially recoverable, at least partially mitigated through relief from
 Congress, and “the magnitude” of any “additional financial losses [incurred during
 appeal] is outweighed by HHS’s weighty interest in protecting the public” health,
 Alabama Ass’n of Realtors, 2021 WL 1946376, at *5—an interest that also satisfies the
 fourth stay factor, id.

        For the foregoing reasons, the district court did not abuse its discretion in staying
 its order pending appeal. It is

       FURTHER ORDERED that the government’s emergency motion for a stay be
 dismissed as moot. It is

        FURTHER ORDERED that the motion for leave to participate as amicus be




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 denied without prejudice. The court will entertain motions to participate as amicus that
 are accompanied by merits briefs.

                                        Per Curiam


                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  BY:     /s/
                                                          Tatiana Magruder
                                                          Deputy Clerk




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                                 KAVANAUGH, J., concurring

              SUPREME COURT OF THE UNITED STATES
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                                         No. 20A169
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                ALABAMA ASSOCIATION OF REALTORS, ET AL. v.
                   DEPARTMENT OF HEALTH AND HUMAN
                            SERVICES, ET AL.
                            ON APPLICATION TO VACATE STAY
                                       [June 29, 2021]

                 The application to vacate stay presented to THE CHIEF
              JUSTICE and by him referred to the Court is denied.
                 JUSTICE THOMAS, JUSTICE ALITO, JUSTICE GORSUCH, and
              JUSTICE BARRETT would grant the application.
                 JUSTICE KAVANAUGH, concurring.
                 I agree with the District Court and the applicants that
              the Centers for Disease Control and Prevention exceeded
              its existing statutory authority by issuing a nationwide
              eviction moratorium. See Utility Air Regulatory Group v.
              EPA, 573 U. S. 302, 324 (2014). Because the CDC plans to
              end the moratorium in only a few weeks, on July 31, and
              because those few weeks will allow for additional and more
              orderly distribution of the congressionally appropriated
              rental assistance funds, I vote at this time to deny the ap-
              plication to vacate the District Court’s stay of its order. See
              Barnes v. E-Systems, Inc. Group Hospital Medical & Surgi-
              cal Ins. Plan, 501 U. S. 1301, 1305 (1991) (Scalia, J., in
              chambers) (stay depends in part on balance of equities);
              Coleman v. Paccar Inc., 424 U. S. 1301, 1304 (1976)
              (Rehnquist, J., in chambers). In my view, clear and specific
              congressional authorization (via new legislation) would be
              necessary for the CDC to extend the moratorium past July
              31.




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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


  ALABAMA ASSOCIATION OF
  REALTORS, et al.,

                 Plaintiffs,

         v.                                                No. 20-cv-3377 (DLF)

  UNITED STATES DEPARTMENT OF
  HEALTH AND HUMAN SERVICES, et al.,

                 Defendants.


                           MEMORANDUM OPINION AND ORDER

        Before the Court is the plaintiffs’ Emergency Motion to Enforce the Supreme Court’s

 Ruling and to Vacate the Stay Pending Appeal. Dkt. 67. For the reasons that follow, the Court

 will deny the motion.

 I.     BACKGROUND

        As part of the Coronavirus Aid, Relief, and Economic Security Act, Pub. L. No. 116-136,

 134 Stat. 281 (2020), Congress enacted a 120-day eviction moratorium that applied to all rental

 properties receiving federal assistance. See id. § 4024(b), 134 Stat. at 492–94. When that

 moratorium expired, the U.S. Department of Health and Human Services (HHS), through the

 Centers for Disease Control and Prevention (CDC), imposed a broader eviction moratorium that

 applied to all rental properties in the United States. See Temporary Halt in Residential Evictions

 to Prevent the Further Spread of COVID-19, 85 Fed. Reg. 55,292 (Sept. 4, 2020). In December

 2020, Congress granted a 30-day extension of that moratorium. See Consolidated

 Appropriations Act, 2021, Pub. L. No. 116-260, § 502, 134 Stat. 1182, 2078–79 (2020). The

 CDC then further extended it, first in January 2021 and then in March 2021. See Temporary




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 Halt in Residential Evictions to Prevent the Further Spread of COVID-19, 86 Fed. Reg. 8020

 (Feb. 3, 2021); Temporary Halt in Residential Evictions to Prevent the Further Spread of

 COVID-19, 86 Fed. Reg. 16,731 (Mar. 31, 2021).

        This Court vacated the CDC’s eviction moratorium on May 5, 2021. See Mem. Op. of

 May 5, 2021, Dkt. 54. One week later, the Court issued a stay of vacatur pending appeal. Mem.

 Op. of May 14, 2021, Dkt. 61. In turn, on June 2, 2021, the D.C. Circuit declined to vacate the

 stay in an unpublished, per curiam judgment. Order of June 2, 2021, Ala. Ass’n of Realtors v.

 U.S. Dep’t of Health & Human Servs., No. 21-5093, 2021 WL 2221646 (D.C. Cir. June 2, 2021).

        On June 24, 2021, after the plaintiffs asked the Supreme Court to vacate the stay, the

 CDC again extended the eviction moratorium for a third time. See Temporary Halt in

 Residential Evictions to Prevent the Further Spread of COVID-19, 86 Fed. Reg. 34,010 (June 28,

 2021). In so doing, the CDC represented both in the extension order itself and to the Supreme

 Court that, “absent an unexpected change in the trajectory of the pandemic, CDC does not plan

 to extend the Order [beyond July 31, 2021].” See id. at 34,013; Letter from Acting Solicitor

 General Elizabeth Prelogar to Clerk of Court Scott Harris at 1 (June 24, 2021), Ala. Ass’n of

 Realtors v. U.S. Dep’t of Health & Human Servs., No. 20A169.

        On June 29, 2021, the Supreme Court denied the plaintiffs’ application to vacate the stay,

 based in part on the CDC’s representation that it would not further extend the moratorium. See

 Ala. Ass’n. of Realtors v. Dep’t of Health & Hum. Servs., 141 S. Ct. 2320, 2320 (2021) (Mem.)

 (Kavanaugh, J. concurring). Four Justices, however, voted to vacate the stay immediately. Id.

 And Justice Kavanaugh, whose vote to leave the stay in place was essential to the Court’s

 disposition, made clear his view that the CDC “exceeded its existing statutory authority by

 issuing a nationwide eviction moratorium.” Id. at 2320–21. Even so, Justice Kavanaugh




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 reasoned that “[b]ecause the CDC plans to end the moratorium in only a few weeks, on July 31,

 and because those few weeks will allow for additional and more orderly distribution of the

 congressionally appropriate rental assistance funds,” the balance of the equities favored leaving

 the stay in place. Id. Thereafter, Justice Kavanaugh wrote, “clear and specific congressional

 authorization (via new legislation) would be necessary for the CDC to extend the moratorium.”

 Id.

        In the following weeks, the Biden Administration repeatedly stated that it would not

 further extend the eviction moratorium in light of the Supreme Court’s ruling, which it

 interpreted to “mak[e] clear” the option “is no longer available.” Pls.’s Reply at 1–2, Dkt. 71

 (quoting White House, Statement by White House Press Secretary Jen Psaki on Biden-Harris

 Administration Eviction Prevention Efforts (July 29, 2021)). And the Administration stressed

 that the CDC agreed with this interpretation, stating that “the CDC Director and her team have

 been unable to find legal authority, even for a more targeted eviction moratorium that would

 focus [just] on counties with higher rates of COVID spread.” Mot. Hr’g Tr. at 20 (quoting White

 House, Press Briefing by Press Secretary Jen Psaki and White House American Rescue Plan

 Coordinator and Senior Advisor to the President Gene Sperling (Aug. 2, 2021)).

        Nonetheless, on August 3, 2021, three days after the prior policy lapsed, the CDC

 renewed a moratorium on evictions in the United States. See Temporary Halt in Residential

 Evictions in Communities with Substantial or High Transmission of COVID-19 to Prevent the

 Further Spread of COVID-19, 86 Fed. Reg. 43,244 (Aug. 6, 2021). Scheduled to run through

 October 3, 2021, the current moratorium differs from its predecessor in that it applies only “in

 U.S. count[ies] experiencing substantial or high levels of community transmission levels of

 SARS-CoV-2 as defined by CDC.” Id. at 43,245 (citations omitted). Otherwise, as discussed in




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 greater depth below, the current moratorium is virtually identical to the moratorium that the

 parties litigated before the Supreme Court. Compare id., with Temporary Halt in Residential

 Evictions to Prevent the Further Spread of COVID-19, 86 Fed. Reg. 34,010 (June 28, 2021).

            On August 4, 2021, the plaintiffs filed an “Emergency Motion to Enforce the Supreme

 Court’s Ruling and to Vacate the Stay Pending Appeal.” Dkt. 67. In their motion in opposition,

 the government argued that the D.C. Circuit’s June 2 judgment is the law of the case and so

 requires this Court to maintain the stay. Dkt. 69. The plaintiffs’ motion is now ripe for review.

 II.        ANALYSIS

            Before addressing the plaintiffs’ motion, the Court must first decide whether the current

 moratorium is an extension or an entirely new policy. Because the current moratorium is an

 extension, it is subject to the stay and can be challenged in this action. Even so, the law of the

 case doctrine prevents the Court from lifting the stay, and therefore, the Court will deny the

 plaintiffs’ motion.

       A.      The Current Eviction Moratorium Is Subject to the Stay

            It is well-established that federal courts have the “inherent power to enforce [their]

 judgments.” Peacock v. Thomas, 516 U.S. 349, 356 (1996); see also Pigford v. Veneman, 292

 F.3d 918, 924 (D.C. Cir. 2002) (noting that district courts’ interpretive authority is connected to

 their enforcement authority); Pfizer Inc. v. Uprichard, 422 F.3d 124, 131 (3d Cir. 2005) (“[A]

 district court has inherent authority to ensure that prevailing parties are able to enforce prior

 judgments.”). Here, the plaintiffs ask the Court to either vacate the current moratorium or

 “simply clarify[] that [this Court’s] original vacatur order covers it.” Pls.’s Br. at 2–3, Dkt. 67.

 Given the procedural posture of this case, and because the plaintiffs seek to “clarify something

 ambiguous or vague, not to alter or amend,” United States v. Philip Morris USA, Inc., 793 F.




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 Supp. 2d 164, 168 (D.D.C. 2011) (citation omitted), this Court construes the plaintiffs’ filing as a

 motion for clarification of the Court’s May 5 vacatur order. To resolve that motion, the Court

 must “pull back the curtain” to determine whether the current moratorium is “so related” to the

 prior moratorium that an order vacating the latter also applies to the former. Wash. Metro. Area

 Transit Auth. Comm’n v. Reliable Limousine Serv., LLC, 776 F.3d 1, 9 (D.C. Cir. 2015).

        The Court begins with the moratorium’s text. There are two substantive differences

 between the current moratorium and the moratorium that this Court considered on May 5, 2021.

 First, the current moratorium is effective through October 3, 2021, and covers all evictions

 initiated but not finalized before the order’s promulgation on August 3, 2021. 86 Fed. Reg. at

 43,247, 43,250. Second, the current moratorium applies only “in U.S. counties experiencing

 substantial and high levels of community transmission levels of SARS-CoV-2 as defined by

 CDC,” 1 id. at 43,250 (citations omitted)—a category that presently includes roughly ninety-one

 percent of U.S. counties, see CDC, COVID Data Tracker: Integrated Country View,

 https://covid.cdc.gov/covid-data-tracker/#county-view (last visited Aug. 13, 2021). In contrast,

 the previous moratorium applied in all U.S. counties. 86 Fed. Reg. at 34,010. Apart from these

 differences, the moratoria are virtually identical—the remainder of their definitions are the same,

 their exceptions are the same, their applicability provisions are the same, and the criminal

 penalties for violating those provisions are the same. And the CDC designed the current



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   The moratorium contains several provisions that further define the scope of its coverage. To
 begin, the order applies in all counties that experience substantial or high transmission levels “as
 of August 3, 2021.” 86 Fed. Reg. at 43,250. From there, if an additional county experiences
 those transmission levels, “that county will become subject to this Order as of the date the county
 begins experiencing substantial or high levels of community transmission.” Id. Additionally, if
 a county that is covered by the order “no longer experiences substantial or high levels of
 community transmission for 14 consecutive days,” the order “will no longer apply in that county,
 unless and until the county again experiences substantial or high levels of community
 transmission.” Id.


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 moratorium to be continuous with its antecedents, insofar as it exempts persons covered under

 those antecedents from filing new declarations of eligibility. See 86 Fed. Reg. at 43,245 n.7.

        The minor differences between the current and previous moratoria do not exempt the

 former from this Court’s order. For obvious reasons, extending the effective dates of a vacated

 order does not evade the effects of the vacatur. Indeed, consistent with that principle, both the

 government and the Supreme Court already considered one extension of the moratorium in pari

 materia with the version that this Court addressed in May. See Letter from Acting Solicitor

 General Elizabeth Prelogar, supra; Ala. Ass’n of Realtors, 141 S. Ct. at 2320–21 (Kavanaugh, J.,

 concurring). Further, although the CDC has excluded some counties from the latest

 moratorium’s reach, the policy remains effective nationwide, shares the same structure and

 design as its predecessors, provides continuous coverage with them, and purports to rest on the

 same statutory authority. In the analogous context of the voluntary cessation doctrine, courts

 frown upon attempts to moot out legal challenges by repealing one rule and “replac[ing] it with a

 policy that is fundamentally similar.” Am. Freedom Defense Inst. v. Wash. Metro. Area Transit

 Auth., 901 F.3d 356, 362 (D.C. Cir. 2018). Rather, courts treat the replacement policy as merely

 a renewal of the challenged conduct, such that it is reviewable in the same action. See id. So too

 here. Because the current moratorium is fundamentally similar to its predecessors, it is “so

 related” to them as to fall within the May 5 vacatur order. Reliable Limousine Serv., 776 F.3d at

 9.

        The government conceded this point at oral argument. There, it explained that “the

 statutory basis for the new order is the same as the statutory basis for the previous order,” Mot.

 Hr’g Tr. at 11, and that the few modifications to the former would not “necessarily be relevant

 under this Court’s summary judgment ruling,” id. at 12. The government also disclaimed any




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 arguments that this case “was mooted out by the three-day lapse [in] the existence of a

 moratorium” or that the “plaintiffs needed to bring a new case.” Id. at 11. Finally, as a

 necessary predicate to its reliance on the law-of-the-case doctrine, the government argued that

 both this Court’s rulings and “the preceden[ts] of the D.C. Circuit” continue to bind this Court.

 Id. 2

              For these reasons, the Court concludes that the current eviction moratorium is an

 extension of the vacated moratoria, such that it is subject to this Court’s May 5 order and its

 subsequent stay pending appeal. The plaintiffs’ motion to vacate the stay is thus ripe for review.

         B.      The Law-of-the-Case Doctrine Prevents the Court from Lifting the Stay

              “When circumstances have changed such that the court’s reasons for imposing the stay

 no longer exist or are inappropriate, the court may lift the stay sua sponte or upon motion.”

 Marsh v. Johnson, 263 F. Supp. 2d 49, 52 (D.D.C. 2003). The party seeking continuation of a

 stay “bears the burden of showing his entitlement to [it].” Latta v. Otter, 771 F.3d 496, 498 (9th

 Cir. 2014) (citation omitted). In assessing whether to lift a stay, a court considers the traditional

 four stay factors: “(1) whether the stay applicant has made a strong showing that he is likely to

 succeed on the merits; (2) whether the applicant will be irreparably injured absent a stay; (3)

 whether issuance of the stay will substantially injure the other parties interested in the

 proceeding; and (4) where the public interest lies.” Nken v. Holder, 556 U.S. 418, 426 (2009).




 2
  Having argued that the current moratorium is a mere extension of the old moratorium, that it is
 covered by this Court’s May 5 order, and that the plaintiffs need not file a separate action to
 challenge its terms, the government is presumably estopped from arguing to the contrary on
 appeal. See Pegram v. Herdrich, 530 U.S. 211, 227 n.8 (2000) (“Judicial estoppel generally
 prevents a party from prevailing in one phase of a case on an argument and then relying on a
 contradictory argument to prevail in another phase.”); see also Davis v. Wakelee, 156 U.S. 680,
 689 (1895) (similar).


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        Rather than address any of these factors on the merits, the government argues that the

 law-of-the-case doctrine requires the Court to maintain the stay as a matter of law. Defs.’s Br. at

 6–8, Dkt. 69. This Court agrees. Because the D.C. Circuit’s judgment affirming the stay binds

 this Court and the Supreme Court did not overrule that judgment, the Court will deny the

 plaintiffs’ motion.

        As a general matter, the law-of-the-case doctrine provides that “a court involved in later

 phases of a lawsuit should not re-open questions decided . . . by that court or a higher one in

 earlier phases.” Crocker v. Piedmont Aviation, Inc., 49 F.3d 735, 739 (D.C. Cir. 1995). Under

 the doctrine, “the same issue presented a second time in the same case in the same court should

 lead to the same result.” LaShawn A. v. Barry, 87 F.3d 1389, 1393 (D.C. Cir. 1996) (en banc).

 Additionally, when an appellate court has reached and necessarily decided an issue of fact or

 law, the doctrine provides that a district court in the same case “has no power or authority to

 deviate from” the appellate court’s conclusion. Briggs v. Pa. R. Co., 334 U.S. 304, 306 (1948);

 see also Hodge v. Evans Fin. Corp., 823 F.2d 559, 567 (D.C. Cir. 1987) (holding that a “trial

 court is without power to reconsider issues decided on a previous appeal” (citation omitted)).

        “For a ruling or decision to become the law of the case, it must . . . be final as to the

 matters involved.” Bryan A. Garner, et al., The Law of Judicial Precedent 448 (2016). Finality

 in this context does not require a final, appealable judgment. See Thomas v. Gandhi, 650 F.

 Supp. 2d 35, 39 (D.D.C. 2009). Instead, the condition is satisfied whenever an appellate court

 has “affirmatively decided” a question of fact or law. Crocker, 49 F.3d at 739. Here, the

 government argues that three conclusions in the D.C. Circuit’s judgment qualify as the law of the

 case: first, that the government was likely to succeed on the merits, see Ala. Ass’n of Realtors,

 2021 WL 2221646, at *1–3; second, that the plaintiffs failed to show irreparable harm, see id. at




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 *3; and third, that “the magnitude of any additional financial losses incurred during appeal is

 outweighed by HHS’s weighty interest in protecting the public health,” id. at *4 (alterations and

 citations omitted). Because these are clearly affirmative decisions by that court, see Crocker, 49

 F.3d at 739, and because the court reached them in this same case, the government is correct that

 they are binding here.

         The plaintiffs argue that those conclusions are not the law of the case because the D.C.

 Circuit reached them in affirming a grant of emergency relief. For this purpose, the plaintiffs

 invoke Berrigan v. Sigler, 499 F.2d 514, 518 (D.C. Cir. 1974), which held that “[t]he decision of

 a trial or appellate court whether to grant or deny a preliminary injunction does not constitute the

 law of the case for the purposes of further proceedings.” Id. at 518. They also invoke Belbacha

 v. Bush, 520 F.3d 452 (D.C. Cir. 2008), which found that an “order denying preliminary relief

 . . . [did] not constitute the law of the case.” Id. at 458 (citation omitted).

         Neither of those holdings apply here. In Berrigan, the D.C. Circuit had granted

 emergency relief to two parolees after finding that their constitutional challenge was likely to

 succeed on the merits. See 499 F.2d at 517. Against that backdrop, Berrigan clarified that no

 law of the case prevented either “the parties from litigating the merits” or the district court from

 deciding the merits in the non-movants’ favor. Id. at 518. Likewise, in Belbacha, the district

 court had denied a detainee’s motion for a temporary restraining order, and the D.C. Circuit had

 also denied emergency relief. See 520 F.3d at 454–55. Belbacha confirmed that neither of those

 emergency decisions—including their subsidiary determinations that the detainee was unlikely to

 prevail on the merits—bound the district court in resolving the merits. See id. at 458. Both

 Berrigan and Belbacha, as the D.C. Circuit later explained, follow from the basic “element[s] of

 the law-of-the-case rule.” Sherley v. Sebelius, 689 F.3d 776, 782 (D.C. Cir. 2012). When an




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 appellate court “predicts” who “likely will or will not succeed on the merits,” it does not

 “affirmatively decide[]” the merits, and so creates no law of the case regarding them. Id. The

 same reasoning does not apply, however, when a district court must decide whether a movant is

 likely to succeed on the merits after a court of appeals has already resolved that same question in

 the same case. Neither Berrigan nor Belbacha suggest that the district court has discretion in

 that posture. Thus, although “findings of fact and conclusions of law made by a court granting a

 preliminary injunction are not binding at trial on the merits,” Univ. of Texas v. Camenisch, 451

 U.S. 390, 395 (1981), they are binding on further requests for emergency relief.

        A contrary approach to the law-of-the-case doctrine would produce absurd results

 whenever a district court and a court of appeals disagree over emergency relief. For example, if

 a district court granted a stay and a court of appeals vacated it, the plaintiffs’ approach to the

 law-of-the-case doctrine would allow the district court to reissue an identical stay in the same

 case. That result would flaunt basic principles of vertical stare decisis—“a critical aspect of our

 hierarchical Judiciary headed by ‘one supreme Court.’” Winslow v. FERC, 587 F.3d 1133, 1135

 (D.C. Cir. 2009) (quoting U.S. Const. art. III, § 1). The same principles apply here, where the

 D.C. Circuit concluded that the government is likely to succeed on the merits and the plaintiffs

 ask this Court to vacate its stay on the opposite ground.

        It is true that the Supreme Court’s recent decision in this case strongly suggests that the

 CDC is unlikely to succeed on the merits. Four Supreme Court Justices voted to vacate the stay,

 “an action which would have been improbable if not impossible had the government, as the stay

 applicant, . . . made a strong showing that it was likely to succeed on the merits.” CASA de

 Maryland, Inc. v. Trump, 971 F.3d 220, 229 (4th Cir. 2020) (Wilkinson, J.). And while Justice

 Kavanaugh voted to uphold the stay, he squarely concluded “the Centers for Disease Control and




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 Prevention exceeded its existing statutory authority by issuing a nationwide eviction

 moratorium.” Ala. Ass’n of Realtors, 141 S. Ct. at 2320 (Kavanaugh, J., concurring).

        Other decisions from the federal courts of appeals further suggest that the government is

 unlikely to prevail. After full briefing and argument, the Sixth Circuit held that § 361 of the

 Public Health Service Act does not authorize the CDC to impose a nationwide eviction

 moratorium. See Tiger Lily, LLC v. U.S. Dep’t of Housing & Urban Dev., No. 21-5256, 2021

 WL 3121373, at *5 (6th Cir. July 23, 2021). The court reasoned that the section’s second

 sentence, which authorizes the “inspection, fumigation, disinfection, sanitation, pest

 extermination, [and] destruction of animals or articles” that are “sources of dangerous infection,”

 clarifies the scope of its first sentence, which authorizes the CDC to promulgate regulations

 “necessary to prevent the introduction, transmission, or spread of communicable diseases.” Id. at

 *2–3 (quoting 42 U.S.C. § 264(a)). Because imposing a nationwide eviction moratorium is not

 “similar to” those enumerated measures, the ejusdem generis canon excludes that option from the

 agency’s toolkit. Id. at *3. The Sixth Circuit also responded to several arguments in the D.C.

 Circuit’s judgment, including the theory that the second sentence of § 361 serves principally to

 provide “express congressional authorization under the Fourth Amendment” for the measures it

 describes. Ala. Ass’n of Realtors, 2021 WL 2221646, at *2 (first citing Oklahoma Press Publ’g

 Co. v. Walling Wage & Hour Adm’r, 327 U.S. 186, 201 & n.26–27 (1946), then citing FTC v.

 Am. Tobacco Co., 364 U.S. 298, 305–06 (1924)). On that point, the court explained that neither

 case relied upon by the D.C. Circuit would have “placed Congress on notice that giving the

 Secretary authority to order inspections and fumigations would implicate the Fourth

 Amendment,” particularly as Oklahoma Press was published two years after the enactment of

 the Public Health Service Act. Tiger Lily, 2021 WL 3121373, at *3 n.2.




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        The Eleventh Circuit also expressed “doubts” about the CDC’s statutory arguments. See

 Brown v. Sec’y, U.S. Dep’t of Health & Human Servs., No. 20-14210, 2021 WL 2944379, at *2

 (11th Cir. July 14, 2021). Judge Grant, writing for the majority, explained that the CDC’s

 authority to regulate the spread of disease under § 361 is tethered to and narrowed by “the

 means” specified in its second sentence. Id. And Judge Branch, writing separately, concluded

 that “neither sentence of § [361(a)] authorizes the CDC Order” and that “the Order has not been

 statutorily authorized through Congressional ratification.” Id. at *28–29 (Branch, J., dissenting).

        These intervening decisions call into question the D.C. Circuit’s conclusion that the CDC

 is likely to succeed on the merits. For that reason, absent the D.C. Circuit’s judgment, this Court

 would vacate the stay. 3 But the Court’s hands are tied. The Supreme Court did not issue a

 controlling opinion in this case, and circuit precedent provides that the votes of dissenting

 Justices may not be combined with that of a concurring Justice to create binding law. See United

 States v. Epps, 707 F.3d 337, 348 (D.C. Cir. 2013) (holding that a Marks opinion “must embody



 3
   The government has not met its burden of showing that the equities cut strongly in its favor,
 particularly given its low likelihood of success on the merits. See Cigar Ass’n of Am. v. FDA,
 317 F. Supp. 3d 555, 560 (D.D.C. 2018) (explaining that if “the issue on appeal presents a
 serious legal question on the merits,” a movant may overcome a lower likelihood of success
 “with a strong showing as to the other three factors” (cleaned up)). Since this Court issued the
 stay, the government has had three months to distribute rental assistance; health care providers
 have administered roughly 65 million additional vaccine doses, see CDC, COVID Data Tracker:
 Trends in Number of COVID-19 Vaccinations in the US, https://covid.cdc.gov/covid-data-
 tracker/#vaccination-trends_vacctrends-total-cum (last visited Aug. 13, 2021); and the total cost
 of the moratoria to lessors, amounting to as much as $19 billion each month, has only increased,
 see Mem. Op. of May 14, 2014, at 9 (citation omitted). To be sure, the recent rise in Delta
 variant cases is troubling. But the government has made no attempt to show how many evictions
 its moratorium actually prevents, considering both the availability of federal rental assistance and
 the operation of other moratoria at the state level. Nor has the government identified any
 approach for evaluating when the compounding costs of the federal moratorium will outweigh its
 residual benefits. Given those omissions, the government has failed to make the necessary
 “strong showing.” And because the absence of that showing warrants lifting the stay pending
 appeal, this Court need not address the plaintiffs’ separate argument that the Administration
 “appears to have acted in bad faith” throughout this litigation. Pls.’s Br. at 3.


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 a position implicitly approved by at least five Justices who support the judgment” (quoting King

 v. Palmer, 950 F.2d 771, 781 (D.C. Cir. 1991) (en banc))). Moreover, because the four

 dissenting Justices did not explain their votes, it is impossible to determine which proposed

 disposition—theirs or Justice Kavanaugh’s—is the “common denominator” of the other. Id. at

 348. Further, the decisions of Sixth and Eleventh Circuit do not bind this Court. And although

 district courts have discretion to reappraise the equities in extraordinary circumstances, this

 Court lacks the “power or authority” to reach the opposite conclusion of the D.C. Circuit on the

 same issues, in the same emergency posture, and in the same case. Briggs, 334 U.S. at 306.

        To lift the stay, the plaintiffs must accordingly seek relief before the D.C. Circuit, which

 may depart from the law of the case when there is an “intervening change in controlling legal

 authority,” LaShawn A., 87 F.3d at 1393, or when a previous decision was “clearly erroneous and

 would work a manifest injustice,” Christianson v. Colt Indus. Operating Corp., 486 U.S. 800,

 817 (1988) (citation omitted).

                                          CONCLUSION

        Accordingly, it is

        ORDERED that the plaintiffs’ Emergency Motion to Enforce the Supreme Court’s

 Ruling and to Vacate the Stay Pending Appeal, Dkt. 67, is DENIED. It is further

        ORDERED that the Third Amendment Lawyers Association’s Motion for Leave to File

 Brief as Amicus Curiae, Dkt. 70, is DENIED AS MOOT.

        SO ORDERED.


                                                               ________________________
                                                               DABNEY L. FRIEDRICH
                                                               United States District Judge
 August 13, 2021




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                  United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
 No. 21-5093                                                September Term, 2020
                                                                       1:20-cv-03377-DLF


                                                        Filed On: August 20, 2021


 Alabama Association of Realtors, et al.,

              Appellees

       v.

 United States Department of Health and
 Human Services, et al.,

              Appellants

       BEFORE:       Pillard, Rao, and Jackson, Circuit Judges

                                         ORDER

        Upon consideration of the emergency motion to vacate stay pending appeal and
 for immediate administrative vacatur, the opposition thereto, and the reply, it is

        ORDERED that the motion to vacate the stay be denied. On June 2, 2021, this
 court denied a previous motion to vacate the stay imposed by the district court. See
 Alabama Ass'n of Realtors v. United States Dep't of Health & Hum. Servs., No.
 21-5093, 2021 WL 2221646 (D.C. Cir. June 2, 2021); see generally Nken v. Holder, 556
 U.S. 418, 434 (2009). The district court has since denied plaintiffs' emergency motion
 to vacate the stay pending appeal. In view of that decision and on the record before us,
 we likewise deny the emergency motion directed to this court.

                                        Per Curiam

                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  BY:     /s/
                                                          Manuel J. Castro
                                                          Deputy Clerk




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                               Cite as: 594 U. S. ____ (2021)                  1

                                        Per Curiam

              SUPREME COURT OF THE UNITED STATES
                                       _________________

                                        No. 21A23
                                       _________________


                ALABAMA ASSOCIATION OF REALTORS, ET AL. v.
                      DEPARTMENT OF HEALTH AND
                         HUMAN SERVICES, ET AL.
                           ON APPLICATION TO VACATE STAY
                                     [August 26, 2021]

                 PER CURIAM.
                 The Director of the Centers for Disease Control and Pre-
              vention (CDC) has imposed a nationwide moratorium on
              evictions of any tenants who live in a county that is experi-
              encing substantial or high levels of COVID–19 transmis-
              sion and who make certain declarations of financial need.
              86 Fed. Reg. 43244 (2021). The Alabama Association of
              Realtors (along with other plaintiffs) obtained a judgment
              from the U. S. District Court for the District of Columbia
              vacating the moratorium on the ground that it is unlawful.
              But the District Court stayed its judgment while the Gov-
              ernment pursued an appeal. We vacate that stay, render-
              ing the judgment enforceable. The District Court produced
              a comprehensive opinion concluding that the statute on
              which the CDC relies does not grant it the authority it
              claims. The case has been thoroughly briefed before us—
              twice. And careful review of that record makes clear that
              the applicants are virtually certain to succeed on the merits
              of their argument that the CDC has exceeded its authority.
              It would be one thing if Congress had specifically author-
              ized the action that the CDC has taken. But that has not
              happened. Instead, the CDC has imposed a nationwide
              moratorium on evictions in reliance on a decades-old stat-
              ute that authorizes it to implement measures like fumiga-
              tion and pest extermination. It strains credulity to believe




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              that this statute grants the CDC the sweeping authority
              that it asserts.
                                             I
                                            A
                 In March 2020, Congress passed the Coronavirus Aid, Re-
              lief, and Economic Security Act to alleviate burdens caused
              by the burgeoning COVID–19 pandemic. Pub. L. 116–136,
              134 Stat. 281. Among other relief programs, the Act im-
              posed a 120-day eviction moratorium for properties that
              participated in federal assistance programs or were subject
              to federally backed loans. §4024, id., at 492–494.
                 When the eviction moratorium expired in July, Congress
              did not renew it. Concluding that further action was
              needed, the CDC decided to do what Congress had not. See
              85 Fed. Reg. 55292 (2020). The new, administratively im-
              posed moratorium went further than its statutory predeces-
              sor, covering all residential properties nationwide and im-
              posing criminal penalties on violators. See id., at 55293,
              55296.
                 The CDC’s moratorium was originally slated to expire on
              December 31, 2020. Id., at 55297. But Congress extended
              it for one month as part of the second COVID–19 relief Act.
              See Consolidated Appropriations Act, 2021, Pub. L. 116–
              260, §502, 134 Stat. 2078–2079. As the new deadline ap-
              proached, the CDC again took matters into its own hands,
              extending its moratorium through March, then again
              through June, and ultimately through July. 86 Fed. Reg.
              8020, 16731, 34010.
                 The CDC relied on §361(a) of the Public Health Service
              Act for authority to promulgate and extend the eviction
              moratorium. See 58 Stat. 703, as amended, 42 U. S. C.
              §264(a). That provision states:
                  “The Surgeon General, with the approval of the [Secre-
                  tary of Health and Human Services], is authorized to
                  make and enforce such regulations as in his judgment




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                  are necessary to prevent the introduction, transmis-
                  sion, or spread of communicable diseases from foreign
                  countries into the States or possessions, or from one
                  State or possession into any other State or possession.
                  For purposes of carrying out and enforcing such regu-
                  lations, the Surgeon General may provide for such in-
                  spection, fumigation, disinfection, sanitation, pest ex-
                  termination, destruction of animals or articles found to
                  be so infected or contaminated as to be sources of dan-
                  gerous infection to human beings, and other measures,
                  as in his judgment may be necessary.”
              See also 42 CFR §70.2 (2020) (delegating this authority to
              the CDC). Originally passed in 1944, this provision has
              rarely been invoked—and never before to justify an eviction
              moratorium. Regulations under this authority have gener-
              ally been limited to quarantining infected individuals and
              prohibiting the import or sale of animals known to transmit
              disease. See, e.g., 40 Fed. Reg. 22543 (1975) (banning small
              turtles known to be carriers of salmonella).
                                            B
                Realtor associations and rental property managers in Al-
              abama and Georgia sued to enjoin the CDC’s moratorium.
              The U. S. District Court for the District of Columbia
              granted the plaintiffs summary judgment, holding that the
              CDC lacked statutory authority to impose the moratorium.
              Alabama Assn. of Realtors v. Department of Health and Hu-
              man Servs., 2021 WL 1779282, *10 (May 5, 2021).
                But the court stayed its order pending appeal. It rea-
              soned that even though the Government had not shown a
              substantial likelihood of success, it did make a lesser show-
              ing of a “serious legal question on the merits,” which the
              court said warranted granting a stay when the remaining
              stay factors weighed in the Government’s favor. Alabama
              Assn. of Realtors v. Department of Health and Human
              Servs., 2021 WL 1946376, *4–*5 (May 14, 2021) (citation




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              omitted); see also Nken v. Holder, 556 U. S. 418, 434 (2009)
              (listing the four traditional stay factors: “(1) whether the
              stay applicant has made a strong showing that he is likely
              to succeed on the merits; (2) whether the applicant will be
              irreparably injured absent a stay; (3) whether issuance of
              the stay will substantially injure the other parties inter-
              ested in the proceeding; and (4) where the public interest
              lies” (citation omitted)). The D. C. Circuit agreed, though it
              rated the Government’s arguments more highly. Alabama
              Assn. of Realtors v. Department of Health and Human
              Servs., 2021 WL 2221646 (June 2, 2021).
                 This Court declined to vacate the stay. Alabama Assn. of
              Realtors v. Department of Health and Human Servs., post,
              p. ___. JUSTICE KAVANAUGH concurred, explaining that he
              agreed with the District Court that the CDC’s moratorium
              exceeded its statutory authority. But because the CDC
              planned to end the moratorium in only a few weeks, and
              because that time would allow for additional and more or-
              derly distribution of congressionally appropriated rental-
              assistance funds, he concluded that the balance of equities
              justified leaving the stay in place. JUSTICE THOMAS,
              JUSTICE ALITO, JUSTICE GORSUCH, and JUSTICE BARRETT
              noted that they would vacate the stay.
                 The moratorium expired on July 31, 2021. Three days
              later, the CDC reimposed it. See 86 Fed. Reg. 43244. Apart
              from slightly narrowing the geographic scope, the new mor-
              atorium is indistinguishable from the old.
                 With the moratorium once again in place, the plaintiffs
              returned to the District Court to seek vacatur of its stay.
              The District Court agreed with the plaintiffs that the stay
              was no longer warranted for two reasons. First, the Gov-
              ernment was unlikely to succeed on the merits, given the
              four votes to vacate the stay in this Court and JUSTICE
              KAVANAUGH’s concurring opinion. 2021 WL 3577367, *6
              (Aug. 13, 2021). Second, the equities had shifted in the
              plaintiffs’ favor: Vaccine and rental-assistance distribution




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              had improved since the stay was entered, while the harm to
              landlords had continued to increase. Ibid., n. 3. But the
              court concluded that its hands were tied by the law of the
              case, in light of the D. C. Circuit’s earlier decision not to
              vacate the stay. Ibid. That denial was followed by one more
              stop at the D. C. Circuit, where that court again declined to
              lift the stay. 2021 WL 3721431 (Aug. 20, 2021).
                 Having passed through the lower courts twice, the plain-
              tiffs return as applicants to this Court to again ask us to
              vacate the District Court’s stay.
                                          II
                The District Court concluded that its stay is no longer
              justified under the governing four-factor test. See Nken v.
              Holder, supra, at 434. We agree.
                                             A
                 The applicants not only have a substantial likelihood of
              success on the merits—it is difficult to imagine them losing.
              The Government contends that the first sentence of §361(a)
              gives the CDC broad authority to take whatever measures
              it deems necessary to control the spread of COVID–19, in-
              cluding issuing the moratorium. But the second sentence
              informs the grant of authority by illustrating the kinds of
              measures that could be necessary: inspection, fumigation,
              disinfection, sanitation, pest extermination, and destruc-
              tion of contaminated animals and articles. These measures
              directly relate to preventing the interstate spread of disease
              by identifying, isolating, and destroying the disease itself.
              The CDC’s moratorium, on the other hand, relates to inter-
              state infection far more indirectly: If evictions occur, some
              subset of tenants might move from one State to another,
              and some subset of that group might do so while infected
              with COVID–19. See 86 Fed. Reg. 43248–43249. This
              downstream connection between eviction and the interstate




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              spread of disease is markedly different from the direct tar-
              geting of disease that characterizes the measures identified
              in the statute. Reading both sentences together, rather
              than the first in isolation, it is a stretch to maintain that
              §361(a) gives the CDC the authority to impose this eviction
              moratorium.
                 Even if the text were ambiguous, the sheer scope of the
              CDC’s claimed authority under §361(a) would counsel
              against the Government’s interpretation. We expect Con-
              gress to speak clearly when authorizing an agency to exer-
              cise powers of “vast ‘economic and political significance.’ ”
              Utility Air Regulatory Group v. EPA, 573 U. S. 302, 324
              (2014) (quoting FDA v. Brown & Williamson Tobacco Corp.,
              529 U. S. 120, 160 (2000)). That is exactly the kind of power
              that the CDC claims here. At least 80% of the country, in-
              cluding between 6 and 17 million tenants at risk of eviction,
              falls within the moratorium. See Response in Opposition
              26, 29. While the parties dispute the financial burden on
              landlords, Congress has provided nearly $50 billion in
              emergency rental assistance—a reasonable proxy of the
              moratorium’s economic impact. See 86 Fed. Reg. 43247.
              And the issues at stake are not merely financial. The mor-
              atorium intrudes into an area that is the particular domain
              of state law: the landlord-tenant relationship. See Lindsey
              v. Normet, 405 U. S. 56, 68–69 (1972). “Our precedents re-
              quire Congress to enact exceedingly clear language if it
              wishes to significantly alter the balance between federal
              and state power and the power of the Government over pri-
              vate property.” United States Forest Service v. Cowpasture
              River Preservation Assn., 590 U. S. ___, ___–___ (2020) (slip
              op., at 15–16).
                 Indeed, the Government’s read of §361(a) would give the
              CDC a breathtaking amount of authority. It is hard to see
              what measures this interpretation would place outside the
              CDC’s reach, and the Government has identified no limit in
              §361(a) beyond the requirement that the CDC deem a




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              measure “necessary.” 42 U. S. C. §264(a); 42 CFR §70.2.
              Could the CDC, for example, mandate free grocery delivery
              to the homes of the sick or vulnerable? Require manufac-
              turers to provide free computers to enable people to work
              from home? Order telecommunications companies to pro-
              vide free high-speed Internet service to facilitate remote
              work?
                 This claim of expansive authority under §361(a) is un-
              precedented. Since that provision’s enactment in 1944, no
              regulation premised on it has even begun to approach the
              size or scope of the eviction moratorium. And it is further
              amplified by the CDC’s decision to impose criminal penal-
              ties of up to a $250,000 fine and one year in jail on those
              who violate the moratorium. See 86 Fed. Reg. 43252; 42
              CFR §70.18(a). Section 361(a) is a wafer-thin reed on which
              to rest such sweeping power.
                                             B
                The equities do not justify depriving the applicants of the
              District Court’s judgment in their favor. The moratorium
              has put the applicants, along with millions of landlords
              across the country, at risk of irreparable harm by depriving
              them of rent payments with no guarantee of eventual recov-
              ery. Despite the CDC’s determination that landlords
              should bear a significant financial cost of the pandemic,
              many landlords have modest means. And preventing them
              from evicting tenants who breach their leases intrudes on
              one of the most fundamental elements of property owner-
              ship—the right to exclude. See Loretto v. Teleprompter
              Manhattan CATV Corp., 458 U. S. 419, 435 (1982).
                As harm to the applicants has increased, the Govern-
              ment’s interests have decreased. Since the District Court
              entered its stay, the Government has had three additional
              months to distribute rental-assistance funds to help ease
              the transition away from the moratorium. Whatever inter-
              est the Government had in maintaining the moratorium’s




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              original end date to ensure the orderly administration of
              those programs has since diminished. And Congress was
              on notice that a further extension would almost surely re-
              quire new legislation, yet it failed to act in the several
              weeks leading up to the moratorium’s expiration.
                It is indisputable that the public has a strong interest in
              combating the spread of the COVID–19 Delta variant. But
              our system does not permit agencies to act unlawfully even
              in pursuit of desirable ends. Cf. Youngstown Sheet & Tube
              Co. v. Sawyer, 343 U. S. 579, 582, 585–586 (1952) (conclud-
              ing that even the Government’s belief that its action “was
              necessary to avert a national catastrophe” could not over-
              come a lack of congressional authorization). It is up to Con-
              gress, not the CDC, to decide whether the public interest
              merits further action here.
                                       *    *    *
                If a federally imposed eviction moratorium is to continue,
              Congress must specifically authorize it. The application to
              vacate stay presented to THE CHIEF JUSTICE and by him re-
              ferred to the Court is granted.
                                                              So ordered.




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              SUPREME COURT OF THE UNITED STATES
                                       _________________

                                        No. 21A23
                                       _________________


                ALABAMA ASSOCIATION OF REALTORS, ET AL. v.
                      DEPARTMENT OF HEALTH AND
                         HUMAN SERVICES, ET AL.
                           ON APPLICATION TO VACATE STAY
                                     [August 26, 2021]

                 JUSTICE BREYER, with whom JUSTICE SOTOMAYOR and
              JUSTICE KAGAN join, dissenting.
                 The Centers for Disease Control and Prevention (CDC)
              has issued an order that, in light of the rise of the COVID–
              19 Delta variant, temporarily prohibits certain evictions in
              high-transmission counties through October 3. Today, this
              Court, as an emergency matter, without full briefing or ar-
              gument, blocks that order by vacating a lower court’s stay.
              I think the Court is wrong to do so, and I dissent.
                 “We may not vacate a stay entered by a [lower] court . . .
              unless that court clearly and ‘demonstrably’ erred in its ap-
              plication of ‘accepted standards.’ ” Planned Parenthood of
              Greater Tex. Surgical Health Servs. v. Abbott, 571 U. S.
              1061 (2013) (Scalia, J., concurring in denial of application
              to vacate stay) (quoting Western Airlines, Inc. v. Teamsters,
              480 U. S. 1301, 1305 (1987) (O’Connor, J., in chambers)).
              Those accepted factors are “(1) whether the stay applicant
              has made a strong showing that he is likely to succeed on
              the merits; (2) whether the applicant will be irreparably in-
              jured absent a stay; (3) whether issuance of the stay will
              substantially injure the other parties interested in the pro-
              ceeding; and (4) where the public interest lies.” Nken v.
              Holder, 556 U. S. 418, 426 (2009) (internal quotation marks
              omitted). In my view, the courts below did not clearly err
              for three reasons.




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                 First, it is far from “demonstrably” clear that the CDC
              lacks the power to issue its modified moratorium order. The
              CDC’s current order is substantially more tailored than its
              prior eviction moratorium, which automatically applied na-
              tionwide. Justified by the Delta-variant surge, the modified
              order targets only those regions currently experiencing sky-
              rocketing rates. 86 Fed. Reg. 43244, 43245, 43250 (2021).
              If a covered county “no longer experiences substantial or
              high levels of community transmission,” the order “will no
              longer apply” there. Id., at 43250. To illustrate the differ-
              ence, when we denied applicants’ last motion, fewer than
              20% of counties would have been covered under the modi-
              fied moratorium order’s criteria. See CDC, COVID–19
              State Profile Report 476 (June 25, 2021). Today, however,
              that figure is over 90%. See infra, at 7.
                 To be protected from eviction, a tenant must reside in a
              covered area and attest that he or she:
                  (1) has “used best efforts to obtain all available govern-
                  mental assistance for rent or housing”;
                  (2) satisfies certain income requirements;
                  (3) is unable to pay rent “due to substantial loss of
                  household income, loss of        compensable hours of
                  work or wages, a lay-off, or extraordinary out-of-pocket
                  medical expenses”;
                  (4) continues to “us[e] best efforts to make timely par-
                  tial rent payments that are as close to the full rent pay-
                  ment as . . . permit[ted]”; and
                  (5) has “no other available housing options.” Id., at
                  43245.
              Unlike under New York’s moratorium, see Chrysafis v.
              Marks, post, at 1, landlords remain free to “challeng[e]” in
              court “the truthfulness of a tenant’s . . . declaration” that
              he or she qualifies for the order’s protection. 86 Fed. Reg.




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              43251.
                The CDC issued this modified moratorium order (like its
              prior moratorium order) pursuant to its powers under
              §361(a) of the Public Health Service Act. That provision
              “authorize[s]” the CDC:
                  “[T]o make and enforce such regulations as in [its] judg-
                  ment are necessary to prevent the introduction, trans-
                  mission, or spread of communicable diseases [inter-
                  state]. For purposes of carrying out and enforcing such
                  regulations, the Surgeon General may provide for such
                  inspection, fumigation, disinfection, sanitation, pest
                  extermination, destruction of animals or articles found
                  to be so infected or contaminated as to be sources of
                  dangerous infection to human beings, and other
                  measures, as in his judgment may be necessary.”
                  42 U. S. C. §264(a).
                 The statute’s first sentence grants the CDC authority to
              design measures that, in the agency’s judgment, are essen-
              tial to contain disease outbreaks. The provision’s plain
              meaning includes eviction moratoria necessary to stop the
              spread of diseases like COVID–19. When Congress enacted
              §361(a), public health agencies intervened in the housing
              market by regulation, including eviction moratoria, to con-
              tain infection by preventing the movement of people. See,
              e.g., 5,589 New Cases in One Day Break Influenza Record,
              N. Y. Times, Jan. 29, 1920, section 1, pp. 1–2, col. 1 (“ ‘[T]he
              Health Department . . . instruct[s] all landlords that no per-
              son suffering from [influenza and pneumonia] can be re-
              moved under any condition whatever without the sanction
              of the Health Department . . . ’ ”). If Congress had meant to
              exclude these types of measures from its broad grant of au-
              thority, it likely would have said so.
                 Section 361(a)’s second sentence is naturally read to ex-
              pand the agency’s powers by providing congressional au-
              thorization to act on personal property when necessary. See




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              FTC v. American Tobacco Co., 264 U. S. 298, 305–306
              (1924). It could also be read to provide emphasis regarding
              particular enforcement measures. See Ali v. Federal Bu-
              reau of Prisons, 552 U. S. 214, 226 (2008).
                 Applicants urge, and today’s per curiam agrees, that the
              second sentence should instead be read to cabin the CDC’s
              authority. Not only does that reading lack a clear statutory
              basis but the second sentence goes on to empower the CDC
              to take “other measures, as in [its] judgment may be neces-
              sary.” 42 U. S. C. §264(a). Furthermore, reading the pro-
              vision’s second sentence to narrow its first would under-
              mine Congress’ purpose. As a key drafter explained, “[t]he
              second sentence of subsection (a)” was written not to limit
              the broad authority contained in the first sentence, but to
              “expressly authorize . . . inspections and . . . other steps nec-
              essary in the enforcement of quarantine.” Hearings on
              H. R. 3379 before the Subcommittee of the Committee on
              Interstate and Foreign Commerce, 78th Cong., 2d Sess.,
              139 (1944).
                 The per curiam also says that Congress must speak more
              clearly to authorize the CDC to address public health crises
              via eviction moratoria. But it is undisputed that the statute
              permits the CDC to adopt significant measures such as
              quarantines, which arguably impose greater restrictions on
              individuals’ rights and state police powers than do limits on
              evictions. Indeed, the current Congress did not bristle at
              the Government’s reading of the statute. In 2020, Congress
              extended the CDC’s moratorium “issued . . . under section
              361 of the Public Health Service Act.” Consolidated Appro-
              priations Act, 2021, Pub. L. 116–260, §502, 134 Stat. 2078–
              2079.
                 In any event, lower courts have split on this question.
              Compare Alabama Assn. of Realtors v. Department of
              Health and Human Servs., 2021 WL 2221646, *2 (CADC,
              June 2, 2021), with Tiger Lily, LLC v. United States Dept.
              of Housing and Urban Development, 5 F. 4th 666, 669–670




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              (CA6 2021). Given the split among the Circuits, it is at least
              hard to say that the Government’s reading of the statute is
              “demonstrably wrong.” See Coleman v. Paccar Inc., 424
              U. S. 1301, 1304 (1976) (Rehnquist, J., in chambers). At
              minimum, there are arguments on both sides.
                 Certainly this Court did not resolve the question by deny-
              ing applicants’ last emergency motion, whatever one Jus-
              tice might have said in a concurrence. The scope of that
              challenged moratorium, the balance of the equities, and the
              public interest were all different. As is typical in this
              Court’s emergency orders denying extraordinary relief, we
              said almost nothing about our reasons for declining to act.
                 Second, the balance of equities strongly favors leaving
              the stay in place. Applicants say they have lost “thousands
              of dollars” in rental income. See Application 32. That in-
              jury is lessened by the moratorium order’s directive that
              tenants have an obligation to make “as close to the full rent
              payment” as possible. 86 Fed. Reg. 43245. And to compen-
              sate for the shortfall, Congress has appropriated more than
              $46.5 billion to help pay rent and rental arrears. See §501,
              134 Stat. 2070–2078 (appropriating $25 billion); American
              Rescue Plan Act, 2021, Pub. L. 117–2, §3201(a)(1), 135 Stat.
              54 (appropriating $21.5 billion more). It may, as applicants
              say, take time to get that money—and that is an injury.
                 But compare that injury to the irreparable harm from va-
              cating the stay. COVID–19 transmission rates have spiked
              in recent weeks, reaching levels that the CDC puts as high
              as last winter: 150,000 new cases per day.




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              Source: CDC, Trends in Number of COVID–19 Cases and Deaths in the
              US Reported to CDC, https://covid.cdc.gov/covid-data-tracker/#trends_
              dailycases.

              To date, the CDC estimates that 38,150,911 Americans
              have been sickened. Ibid. 629,139 have died. Ibid. This
              week, the CDC calculates average new daily hospital ad-
              missions at 12,209. See CDC, New Admissions of Patients
              with Confirmed COVID–19, https://covid.cdc.gov/covid-
              data-tracker/#new-hospital-admissions. The number of
              patients hospitalized with COVID–19 is up 13.3% from last
              week. See CDC, Prevalent Hospitalization of Patients With
              Confirmed COVID–19, https://covid.cdc.gov/covid-data-
              tracker/#hospitalizations.
                Look back at the order’s criteria for temporary eviction
              relief. The CDC targets only those people who have no-
              where else to live, in areas with dangerous levels of commu-
              nity transmission. These people may end up with relatives,
              in shelters, or seeking beds in other congregant facilities
              where the doubly contagious Delta variant threatens to
              spread quickly. See CDC, Delta Variant: What We Know
              About the Science, https://www.cdc.gov/coronavirus/2019-
              ncov/variants/delta-variant.html (Delta variant is “more
              than 2x as contagious as previous variants” and may “cause




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              more severe illness than previous strains in unvaccinated
              persons”). Absent the current stay, the CDC projects a
              strong “likelihood of mass evictions nationwide” with
              public-health consequences that would be “difficult to re-
              verse.” 86 Fed. Reg. 43247, 43252.
                 Third, the public interest is not favored by the spread of
              disease or a court’s second-guessing of the CDC’s judgment.
              The CDC has determined that “[a] surge in evictions could
              lead to the immediate and significant movement of large
              numbers of persons from lower density to higher density
              housing. . . when the highly transmissible Delta variant is
              driving COVID–19 cases at an unprecedented rate.” Id., at
              43248. The CDC cites models showing up to a 30% in-
              creased risk of contracting COVID–19 for some evicted peo-
              ple and those who share housing with them after displace-
              ment. Ibid. The CDC invokes studies finding nationally
              over 433,000 cases and over 10,000 deaths may be traced to
              the lifting of state eviction moratoria. Ibid.
                 The public interest strongly favors respecting the CDC’s
              judgment at this moment, when over 90% of counties are
              experiencing high transmission rates. See CDC, COVD–19
              Integrated County View, https://covid.cdc.gov/covid-data-
              tracker/#county-view. That figure is the highest it has been
              since at least last winter. See CDC, COVID–19 State Pro-
              file Report 372 (Aug. 20, 2021). It was in the single digits
              when we considered the CDC’s previous moratorium order
              and denied applicants’ earlier motion. See CDC, COVID–
              19 State Profile Report 476 (June 25, 2021).
                 On applicants’ last trip to this Court, they argued that
              the “downward trend in COVID–19 cases and the effective-
              ness of vaccines” left “no . . . public-health rationale for the
              [CDC’s then-operative eviction] moratorium.” Application
              in No. 20A169, p. 4. These predictions have proved tragi-
              cally untrue. Today they show just how little we may pre-
              sume to know about the course of this pandemic.




                                            85a
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              8      ALABAMA ASSN. OF REALTORS v. DEPARTMENT
                          OF HEALTH AND HUMAN SERVS.
                                BREYER, J., dissenting

                 Applicants raise contested legal questions about an im-
              portant federal statute on which the lower courts are split
              and on which this Court has never actually spoken. These
              questions call for considered decisionmaking, informed by
              full briefing and argument. Their answers impact the
              health of millions. We should not set aside the CDC’s evic-
              tion moratorium in this summary proceeding. The criteria
              for granting the emergency application are not met. I re-
              spectfully dissent.




                                         86a
